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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK




  ARKANSAS TEACHER RETIREMENT
  SYSTEM,                                                       20 Civ. 5615 (KPF)

         Plaintiff,                                            ORAL ARGUMENT
                                                                 REQUESTED
                 v.
                                                                 (captions continue
  ALLIANZ GLOBAL INVESTORS U.S. LLC, et                          on following pages)
  al.,

         Defendants.




           OMNIBUS MEMORANDUM OF LAW IN SUPPORT OF
 DEFENDANT ALLIANZ GLOBAL INVESTORS U.S. LLC’S MOTIONS TO DISMISS




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February 25, 2021
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RETIREMENT PROGRAM FOR
EMPLOYEES OF THE TOWN OF
FAIRFIELD, et al.,
     Plaintiffs,                               20 Civ. 5817 (KPF)

             v.
ALLIANZ GLOBAL INVESTORS U.S. LLC,
     Defendant.

LEHIGH UNIVERSITY,
     Plaintiff,
                                               20 Civ. 7061 (KPF)
             v.
ALLIANZ GLOBAL INVESTORS U.S. LLC,
     Defendant.

TEAMSTER MEMBERS RETIREMENT
PLAN, et al.,
     Plaintiffs,                               20 Civ. 7154 (KPF)
             v.
ALLIANZ GLOBAL INVESTORS U.S. LLC,
     Defendant.

BLUE CROSS AND BLUE SHIELD
ASSOCIATION NATIONAL EMPLOYEE
BENEFITS COMMITTEE,
     Plaintiff,                                20 Civ. 7606 (KPF)
             v.
ALLIANZ GLOBAL INVESTORS U.S. LLC,
et al.,
     Defendants.
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METROPOLITAN TRANSPORTATION
AUTHORITY DEFINED BENEFIT PENSION
PLAN MASTER TRUST, et al.,
     Plaintiffs,                               20 Civ. 7842 (KPF)

             v.
ALLIANZ GLOBAL INVESTORS U.S., LLC,
     Defendant.

CHICAGO AREA I.B. OF T. PENSION PLAN
& TRUST, et al.,
     Plaintiffs,                              20 Civ. 07952 (KPF)
             v.
ALLIANZ GLOBAL INVESTORS U.S. LLC,
     Defendant.

THE EMPLOYES’ RETIREMENT SYSTEM
OF THE CITY OF MILWAUKEE,
     Plaintiff,
                                               20 Civ. 8642 (KPF)
             v.
ALLIANZ GLOBAL INVESTORS U.S. LLC,
et al.,
     Defendants.

CHICAGO & VICINITY LABORERS’
DISTRICT COUNCIL PENSION FUND, et al.,
     Plaintiffs,
                                               20 Civ. 9478 (KPF)
             v.
ALLIANZ GLOBAL INVESTORS U.S. LLC,
et al.,
     Defendants.
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THE BOARDS OF TRUSTEES FOR THE
CARPENTERS HEALTH AND SECURITY
TRUST OF WESTERN WASHINGTON AND
FOR THE GROUP INVESTMENT TRUST OF
THE CARPENTERS INDIVIDUAL
ACCOUNT PENSION TRUST OF WESTERN
WASHINGTON AND CARPENTERS
RETIREMENT TRUST OF WESTERN                     20 Civ. 9479 (KPF)
WASHINGTON,
      Plaintiffs,
              v.
ALLIANZ GLOBAL INVESTORS U.S. LLC,
et al.,
      Defendants.

PAUL SCHAEFER; ROBERT O’TOOLE;
MARC PARKER; BRIAN JORDAN; MARK
JACOBS; AND WILLIAM R. SEEHAFER, as
trustees of the United Food & Commercial
Workers Unions & Employers Midwest Pension
Fund, on behalf of the Plan,
                                                20 Civ. 9587 (KPF)
      Plaintiffs,
              v.
ALLIANZ GLOBAL INVESTORS U.S. LLC, et
al.,
      Defendants.

BOARD OF TRUSTEES OF THE
INTERNATIONAL BROTHERHOOD OF
ELECTRICAL WORKERS, LOCAL NO. 38
PENSION FUND PENSION PLAN,
                                               20 Civ. 10028 (KPF)
      Plaintiff,
              v.
ALLIANZ GLOBAL INVESTORS U.S. LLC,
      Defendant.
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                        GUIDE TO OMNIBUS BRIEF AND GLOSSARY

         Defendant Allianz Global Investors U.S. LLC follows the conventions below throughout

  this Memorandum of Law in Support of AllianzGI’s Motions to Dismiss (“Omnibus Brief”) in

  each of the actions captioned above (“Related Actions”).

                  A.     Plaintiff Key and Citations to Complaints

         Each Part of the Argument section in this Omnibus Brief includes a “Plaintiff Key”

  identifying the Plaintiffs to which the arguments in that Part apply. References to particular

  Plaintiffs and citations to the Complaints follow the conventions below:

                                             Citation to             Full Citation to Complaint
 Plaintiff         Plaintiffs in Action     Complaint in
 Acronym
                                            Omnibus Brief
ATRS             Arkansas Teacher          ATRS Compl.        Complaint in Arkansas Teacher
                 Retirement System                            Retirement System v. Allianz Global
                                                              Investors U.S. LLC, et al., No. 20-cv-
                                                              05615 (ECF No. 1)
BCBS             Blue Cross and Blue       BCBS Compl.        Complaint in Blue Cross and Blue
                 Shield Association                           Shield Association National Employee
                 National Employee                            Benefits Committee v. Allianz Global
                 Benefits Committee                           Investors U.S. LLC, et al., No. 20-cv-
                                                              07606 (ECF No. 1)
CLPF             Chicago & Vicinity        CLPF Compl.        Complaint in Chicago & Vicinity
                 Laborers’ District                           Laborers’ District Council Pension
                 Council Pension Fund                         Fund, et al. v. Allianz Global Investors
                                                              U.S. LLC, et al., No. 20-cv-09478 (ECF
                 Chicago & Vicinity
                                                              No. 1)
                 Laborers’ District
                 Council Health &
                 Welfare Fund
                 Fund Administrator
CMERS            The Employes’ [sic]       CMERS              Complaint in The Employes’ Retirement
                 Retirement System of      Compl.             System of the City of Milwaukee v.
                 the City of Milwaukee                        Allianz Global Investors U.S. LLC, et
                                                              al., No. 20-cv-08642 (ECF No. 1)




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                                             Citation to            Full Citation to Complaint
 Plaintiff         Plaintiffs in Action     Complaint in
 Acronym
                                            Omnibus Brief
CPPT             Chicago Area I.B. of T.    CPPT FAC         First Amended Complaint in Chicago
                 Pension Plan & Trust                        Area I.B. of T. Pension Plan & Trust, et
                 and its Trustees                            al. v. Allianz Global Investors U.S.
                                                             LLC, et al., No. 20-cv-07952 (ECF No.
                 Local 703 I.B. of T.,
                                                             62)
                 Grocery and Food
                 Employees’ Pension
                 Plan & Trust and its
                 Trustees
CTWW             Board of Trustees for      CTWW Compl.      Complaint in The Boards of Trustees for
                 the Carpenters Health                       the Carpenters Health and Security
                 and Security Trust of                       Trust of Western Washington, et al. v.
                 Western Washington                          Allianz Global Investors U.S. LLC, et
                                                             al., No. 20-cv-09479 (ECF No. 1)
                 Board of Trustees for
                 the Group Investment
                 Trust of the Carpenters
                 Individual Account
                 Pension Trust of
                 Western Washington
                 and Carpenters
                 Retirement Trust of
                 Western Washington
FFLD/NEHC1       Retirement Program for     FFLD/NEHC        Second Amended Complaint in
                 Employees of the Town      SAC              Retirement Program for Employees of
                 of Fairfield; Retirement                    the Town of Fairfield, et al. v. Allianz
                 Program for Fairfield                       Global Investors U.S. LLC, No. 20-cv-
                 Police and Firemen’s                        05817 (ECF No. 46)
                 Retirement System
                 New England Health
                 Care Employees
                 Pension Fund and its
                 Board of Trustees




   1
           Certain arguments apply only to New England Health Care Employees Pension Fund and
   its Board of Trustees (“NEHC”) as the only Named Plaintiff subject to ERISA, in which case only
   NEHC is identified in the Plaintiff Key.



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                                              Citation to           Full Citation to Complaint
  Plaintiff         Plaintiffs in Action     Complaint in
  Acronym
                                             Omnibus Brief
IBEW              Board of Trustees of the   IBEW FAC        First Amended Complaint in Board of
                  International                              Trustees of the International
                  Brotherhood of                             Brotherhood of Electrical Workers,
                  Electrical Workers,                        Local No. 38 Pension Fund Pension
                  Local No. 38 Pension                       Plan v. Allianz Global Investors U.S.
                  Fund Pension Plan                          LLC, No. cv-10028 (ECF No. 36)
Lehigh            Lehigh University          Lehigh FAC      First Amended Complaint in Lehigh
                                                             University v. Allianz Global Investors
                                                             U.S. LLC, No. 20-cv-07061 (ECF No.
                                                             46)
MTA               Metropolitan               MTA FAC         First Amended Complaint in
                  Transportation                             Metropolitan Transportation Authority
                  Authority Defined                          Defined Benefit Pension Plan Master
                  Benefit Pension Plan                       Trust, et al. v. Allianz Global Investors
                  Master Trust                               U.S. LLC, et al., No. 20-cv-07842 (ECF
                                                             No. 44)
                  Metropolitan
                  Transportation
                  Authority Other
                  Postemployment
                  Benefits Plan
                  Manhattan and Bronx
                  Surface Transit
                  Operating Authority
                  (MaBSTOA) Pension
                  Plan
TMRT/BLYR         Teamster Members           TMRT/BLYR       Second Amended Complaint in
                  Retirement Plan and its    SAC             Teamster Members Retirement Plan, et
                  Board of Trustees                          al. v. Allianz Global Investors U.S.
                                                             LLC, No. 20-cv-07154 (ECF No. 61)
                  Bricklayers and
                  Masons’ Local Union
                  No. 5, Ohio Pension
                  Fund, and its Board of
                  Trustees
                  Rasmani Bhattacharya
                  and Claude Pumilia




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                                             Citation to             Full Citation to Complaint
 Plaintiff         Plaintiffs in Action     Complaint in
 Acronym
                                            Omnibus Brief
UFCW             Trustees of the United    UFCW Compl.        Complaint in United Food &
                 Food & Commercial                            Commercial Workers Unions &
                 Workers Unions &                             Employers Midwest Pension Fund, et al.
                 Employers Midwest                            v. Allianz Global Investors U.S. LLC et
                 Pension Fund                                 al., No. 20-cv-09587 (ECF No. 1)

                  B.     Citations to Governing Documents

          As set forth in the accompanying Declaration of Robert J. Giuffra, Jr., in Support of

  Defendant AllianzGI’s Motions to Dismiss, dated February 25, 2021 (“Giuffra Declaration”), in

  asserting claims, the Complaints incorporate by reference and rely on the documents that govern

  each Plaintiff’s investment(s) in the relevant Funds, consisting of (i) an LLC Agreement; (ii) a

  Subscription Agreement; (iii) a Private Placement Memorandum (together, the “Governing

  Documents”); and, in certain cases, (iv) a side letter agreement (“Side Letter”). These documents

  are included as Exhibits 1-3 and 7-110 to the Giuffra Declaration. All references to “Ex.” in this

  Omnibus Brief are to exhibits to the Giuffra Declaration.

          For ease of review, the Omnibus Brief quotes from and cites to the Governing Documents

  for Structured Alpha 1000 LLC using the defined terms below.

                          CITATIONS TO GOVERNING DOCUMENTS
    LLC Agreement                  AllianzGI Structured Alpha 1000 LLC Fourth Amended and
                                   Restated Limited Liability Company Agreement, Dated as of
                                   December 31, 2017 (Ex. 1)

    PPM                            AllianzGI Structured Alpha 1000 LLC Confidential Private
                                   Placement Memorandum, Effective as of December 31, 2017
                                   (Ex. 2)

    Subscription Agreement         Exemplar AllianzGI Structured Alpha 1000 LLC Subscription
                                   Agreement, Dated December 2017 (Ex. 3)




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               C.      Appendices

       To assist the Court’s review, AllianzGI has included the following appendices to the

Giuffra Declaration:

               Appendix A: Summary of Grounds for Dismissal

               Appendix B: Summary of Plaintiffs’ Initial Investments

               Appendix C: Common Law and ERISA Counts in the Complaints

               Appendices D1, D2 and D3: Comparison of LLC Agreement, PPM and
               Subscription Agreement for AllianzGI Structured Alpha 1000 LLC to the LLC
               Agreements, PPMs and Subscription Agreements for Other At-Issue Funds

       Appendices D1, D2 and D3 compare the relevant provisions from the Governing

Documents for Structured Alpha 1000 LLC to Governing Documents for the other Structured

Alpha Funds at issue in the Complaints. These Appendices reflect that, consistent with Plaintiffs’

allegations,2 these provisions are substantially identical, except for BCBS’s investments in the

Multi-Beta Series Structured Alpha Funds, which differ in certain respects not relevant to these

motions. All references to “App.” or “Appendix” in this Omnibus Brief are to an Appendix to the

Giuffra Declaration.




2
       See, e.g., FFLD/NEHC SAC ¶ 84 (alleging, on behalf of putative class, that LLC
Agreement, Private Placement Memorandum and Subscription Agreement for Structured Alpha
1000 LLC “are substantively identical to those entered into by investors across the Structured
Alpha Funds portfolio”); TMRT/BLYR SAC ¶ 18 n.2 (same, for putative class).



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                                 PRELIMINARY STATEMENT

         Plaintiffs are all highly sophisticated investors that elected to invest in “speculative” and

“high risk” private funds (“Funds”) pursuing an options-based trading strategy. (PPM at 2, 20.)

In order to invest, each Plaintiff represented that it “underst[ood]” the risks (including the risk of

“complete loss”) and could “afford” to lose their entire investment. (See PPM at 20; Subscription

Agreements §§ II (K), (L).) Through these twelve Related Actions, Plaintiffs seek to recoup the

losses that the Funds incurred during the start of the Covid-19 pandemic in February and March

2020, when equity markets experienced one of the most severe downturns in history, and market

volatility soared to unprecedented heights. In the wake of the Covid-19 market crash, Plaintiffs

now contend—with the benefit of hindsight—that Allianz Global Investors U.S. LLC

(“AllianzGI”), as the investment manager, “mismanaged” the Funds’ assets and reacted

“imprudently” to highly volatile market conditions that gyrated almost daily over the course of

weeks.

         Plaintiffs were invested in the Funds for years (some for more than a decade) (see App. B)

and generally enjoyed positive returns. During prior market downturns, Plaintiffs experienced

how market volatility could cause the Funds to incur losses and understood that the Funds were

vulnerable to big market swings. (See TMRT-BLYR SAC ¶¶ 53, 81-86.) In simplest terms, the

Funds generated most of their returns by collecting fixed up-front fees or “premiums” when selling

“put” and “call” options contracts to third-party purchasers, which provided those purchasers with

protection—essentially insurance—against movements (up or down) in market indices, primarily

the Standard & Poor’s 500 Composite Stock Index (“S&P 500 Index”). (TMRT/BLYR SAC

¶¶ 36-37.) The Funds sold options with durations of typically a few weeks and “strike prices” (i.e.,

the prices at which the option purchaser could exercise the option) within a certain “range” above

and below the S&P 500 Index’s current levels. (Id. ¶ 41-42.) As long as the S&P 500 Index stayed
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within this range while the options were in place, the strike prices would not be reached and the

options purchasers would not exercise their options. The Funds would then keep the premiums as

profit (just as an insurance company keeps premiums so long as the insured risk does not

materialize). These premiums generated the primary investment return for Plaintiffs. (Id. ¶ 42;

see PPM. at 1 (explaining that Funds “will capture positive payoffs if the level of the . . .

[I]ndex . . . ends up within the profit zone”) (emphasis added).)

       These options—referred to as “range-bound spreads”—were designed to “generate excess

returns in normal market conditions.” (Ex. 4 at 1 (Structured Alpha Strategy Overview) (emphasis

added); see also Ex. 5 at 12 (Dec. 2018 Lehigh Pitchbook).) AllianzGI used “proprietary scenario

and stress testing models” to estimate the risk that the options’ “range” would be exceeded and the

impact of market movements on the Funds. (ATRS Compl. ¶ 64.) But extreme movements outside

the range could cause the Funds to incur significant losses, because, as a seller of “insurance” to

market participants, the Funds had to make payments to options holders when those movements

materialized during the life of the options. (See PPM at 25 (purchaser of put option had “the right

to receive a cash payment equal to any depreciation in the value of the [I]ndex below the strike

price” (emphasis added).) If the market movement were steep and rapid (as unexpectedly—and

repeatedly—occurred in February and March 2020), the Funds’ losses could be significant.

       The Funds had positions in place to mitigate the risk of loss when market conditions were

not “normal,” including hedging positions. (See, e.g., TMRT-BLYR SAC ¶¶ 50-51.) The hedges

consisted of options that the Funds themselves purchased to try to “cabin” (not eliminate)

investment losses in the event of “sharp market declines” (id. ¶ 51), specifically “short-term” or

“overnight” losses. (Ex. 6 at 31 (Apr. 2, 2019 Presentation to BCBS).) But as disclosed to

Plaintiffs, the Funds’ ability to “[r]estructur[e] when necessary [wa]s a vital component of [the]




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risk management process.” (Ex. 5 at 16 (emphasis added).) In other words, in a “falling market,”

the Funds “reduc[ed] risk” by “re-center[ing]” the options that they sold to third parties around a

new range to stay a step ahead “in response to the falling market.” (TMRT-BLYR SAC ¶ 54.)

       The PPMs expressly warned Plaintiffs that “even a well-conceived and well-executed

options program may be adversely affected by market behavior or unexpected events,” and

cautioned that the strategy “depend[ed] on” the “smooth functioning of the options exchanges,”

and that “[u]nexpected volatility . . . could impair the Fund’s ability to carry out its business or

cause it to incur losses.” (PPM at 20, 24, 29 (emphasis added).) In February and March 2020,

these disclosed risks materialized, when the S&P 500 Index repeatedly suffered some of the

steepest drops in its history during a period of unprecedented market volatility, causing the Funds

to incur losses as a result of their obligations to third-party holders of the options that the Funds

sold. (See Part C, infra.)

       In their Complaints, Plaintiffs rely extensively on the parties’ agreements and the PPMs,

but they ignore every risk warning in the PPMs, their own contractual representations, and

significantly, the terms in the LLC Agreements and governing law restricting the claims Plaintiffs

may bring against AllianzGI. 1       Instead, Plaintiffs seek to second-guess the judgments of

AllianzGI’s portfolio managers and allege that the Funds should not have been “short volatility,”

even though the Funds repeatedly disclosed to Plaintiffs that the Funds’ range-bound options were



1
        “[O]n a motion to dismiss, a court may consider ‘documents attached to the complaint as
an exhibit or incorporated in it by reference . . . or . . . documents either in plaintiffs’ possession
or of which plaintiffs had knowledge and relied on in bringing suit,’” and “[e]ven where a
document is not incorporated by reference, the court may nevertheless consider it where the
complaint ‘relies heavily upon its terms and effect,’ which renders the document ‘integral’ to the
complaint.” Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002). As such, all the
governing documents for Plaintiffs’ investments in the Funds are properly considered by this Court
in deciding AllianzGI’s motions to dismiss.



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designed to be short volatility and were designed for “normal up, down, or flat” market

movements. (See Ex. 5 at 12 (emphasis added).) Relying on hindsight, Plaintiffs further contend

that AllianzGI should have purchased more or different hedging positions, even though AllianzGI

disclosed that these hedges were intended to be only a partial offset to “overnight” or short-term

market crashes. (Ex. 5 at 12, 14.) Plaintiffs also challenge AllianzGI’s “risk management” or

stress-testing, without addressing the Covid-19 market crash’s impact on the Funds’ ability to

restructure its options-trading positions. Finally, Plaintiffs implausibly charge that AllianzGI

engaged in supposedly “self-interested” trading of the Funds’ assets in March 2020 to try to recoup

performance fees, when those fees (and the Fund’s success) were directly aligned with the interests

of investors.

       To narrow the reach of these blunderbuss Complaints to their legally cognizable scope, this

Court should trim Plaintiffs’ claims significantly for the following reasons.

                First, the Court should hold that Plaintiffs’ claims against AllianzGI for alleged

mismanagement of the Funds’ assets are “paradigmatic” derivative claims under Delaware law.

(See cases cited infra, Part I). To bring claims based on AllianzGI’s supposed imprudent

management of the Funds’ assets, Plaintiffs must state a claim for breach of duty owed to them

directly, not derivatively. Because the only basis for Plaintiffs’ direct claims against AllianzGI

are duties owed under the Employee Retirement Income Security Act of 1974 (“ERISA”), 29

U.S.C. § 1001 et seq., or the LLC Agreements, the Court should hold that Plaintiffs may not seek

to impose tort duties of care or fiduciary duties not based on ERISA or those Agreements.2


2
        Notably, only one Plaintiff in the above-captioned Related Actions—Lehigh University—
asserts claims based on common law fraud, Section 10(b) of the Securities Exchange Act, and
negligent misrepresentation, which fail for the reasons stated in Defendant’s Supplemental Brief
in Support of its Motion to Dismiss the Amended Complaint filed in the Lehigh action, 2020 Civ.
7061 (“Lehigh Supplemental Brief”).



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               Second, the Court should dismiss as preempted under ERISA the common law

negligence, breach of fiduciary duty and/or breach of contract claims of those Plaintiffs that are

ERISA fiduciaries responsible for the oversight of ERISA retirement plans. These ERISA

fiduciaries elected to invest substantial sums in a high-risk strategy that they affirmatively

represented was “suitable” for those plans. (“ERISA Plaintiffs”). (Subscription Agreement §§ II

(K), (L).) Because of ERISA’s “extraordinary pre-emptive power,” those ERISA Plaintiffs

alleging that AllianzGI acted as an ERISA fiduciary in managing the Funds cannot assert state

common law claims alongside their ERISA claims. Aetna Health Inc. v. Davila, 542 U.S. 200,

209 (2004) (quotations omitted); see 29 U.S.C. § 1144(a). (See cases cited infra, Part II.)

               Third, the Court should dismiss the breach of contract claims of those Plaintiffs

who pointedly ignore the controlling terms of the LLC Agreements, which specify contractually

prescribed standards of care that the parties agreed AllianzGI would meet in “discharg[ing] its

duties” as the Funds’ investment manager and “extended” those obligations to the Funds’

members. Specifically, Section 2.12 of the LLC Agreements provides that, in managing the

Funds’ assets, AllianzGI would meet ERISA fiduciary standards when the Funds were subject to

ERISA, and only the ERISA “prudence” standard of care when they were not, yet only four

Complaints assert breach of contract claims based on Section 2.12 (or similar provisions in Side

Letters). The remaining Plaintiffs otherwise bring breach of contract claims based on out-of-

context snippets from the PPMs, claiming, for example, that AllianzGI was somehow obligated to

adhere strictly to the PPM’s description of the Funds’ investment strategy at all times, including

during the Covid-19 market crash. The full context of the PPMs makes clear that the PPMs, in

fact, say no such thing and instead disclosed the opposite—that AllianzGI had broad discretion to

“change any of [the Funds’] investment strategies without prior consent of, or notice to, the




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Members.” (PPM at 2, 19-20 (emphasis added).)

               Certain Plaintiffs also assert claims for breach of the implied covenant of good faith

and fair dealing—a “limited and extraordinary legal remedy”—but “the implied covenant does not

apply when the contract addresses the conduct at issue,” and is not “truly silent” on that conduct.

Oxbow Carbon & Mins. Holdings, Inc. v. Crestview-Oxbow Acquisition, LLC, 202 A.3d 482, 507

(Del. 2019) (quotations omitted). This Court should not imply some extra-contractual duty,

because Section 2.12 of the LLC Agreements specifies precise contractual standards of care

governing AllianzGI’s performance of its duties.

               Fourth, this Court should reject tort claims asserted by every Plaintiff (except

BCBS, which relies solely on ERISA and contract claims and does not assert such tort claims) for

failure to identify any duty owed independent of the parties’ governing contracts. Plaintiffs try to

plead negligence claims by imagining a duty of care in tort “arising out of the LLC Agreements,

Subscription Agreements, and Side Letter Agreements.” (ATRS Compl. ¶¶ 123-24 (alleging that

AllianzGI owed a duty of care arising from its “responsibil[ity] for the general management of the

investment portfolios . . . under the [LLC] Agreement[s]”) (emphasis added).) Because these

negligence claims “‘do[] no more than assert violations of a duty which is identical to and

indivisible from the contract obligations’” in Section 2.12 of the LLC Agreements, the Court

should dismiss those claims. Metro. W. Asset Mgmt., LLC v. Magnus Funding, Ltd., 2004 WL

1444868, at *9 (S.D.N.Y. June 25, 2004) (Buchwald, J.) (quoting Luxonomy Car, Inc. v. Citibank,

N.A., 408 N.Y.S.2d 951, 954 (N.Y. App. Div. 2d Dep’t 1978)).

       The Court should similarly reject Plaintiffs’ attempt to avoid the parties’ contracts and

assert claims for breach of fiduciary duty on theories ranging from AllianzGI’s role as the Funds’

investment manager; to AllianzGI’s supposed “duties” as an “investment advisor” to Plaintiffs; to




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a limited power of attorney to sign specific documents on behalf of investors; and even to

regulations applicable to the Funds’ payments of broker commissions. Each of Plaintiffs’ theories

fails as a matter of law because (1) he parties dispensed with common law “default” fiduciary

duties under Delaware law; (2) these claims impermissibly duplicate AllianzGI’s obligations under

Section 2.12 of the LLC Agreements; (3) Plaintiffs expressly disclaimed that AllianzGI was

providing any investment advice to them; and/or (4) Plaintiffs may not rely on duties that are not

relevant to AllianzGI’s conduct as investment manager.

       In any event, even if these Plaintiffs could state a non-duplicative claim for negligence or

breach of fiduciary duty (and they cannot), the economic loss doctrine independently bars all such

tort claims, because Plaintiffs “do[] not seek damages for injuries to [their] person or property, but

for an alleged injury that is quintessentially economic,” and thus the proper subject of contract

claims. Aretakis v. Caesars Ent., 2018 WL 1069450, at *13 (S.D.N.Y. Feb. 23, 2018) (Failla, J.).

       Finally, this Court should dismiss claims that AllianzGI breached a fiduciary duty of

loyalty or engaged in “prohibited transactions” under ERISA based on legally implausible

allegations that AllianzGI exposed the Funds to increased risk in March 2020 to try to recoup its

performance fees. Plaintiffs fail to allege, as they must to state such claims, any facts to show that

AllianzGI acted “for the purpose” of benefiting itself in continuing to manage the Funds’ assets in

March 2020. Sacerdote v. N.Y. Univ., 2017 WL 3701482, at *5 (S.D.N.Y. Aug. 25, 2017)

(Forrest, J.). Plaintiffs instead ask this Court to infer breaches of the duty of loyalty by alleging

that AllianzGI acted imprudently, based solely on the fact that AllianzGI was compensated

exclusively for positive performance, and then presuming that AllianzGI must have been acting

for an improper, self-interested motive in managing the Funds through the Covid-19 market

upheaval. In this Circuit, courts long ago rejected “[i]ncentive compensation” as a motive for




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wrongdoing, Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124, 1130 (2d Cir. 1994) (quotation

omitted), and routinely dismiss claims for breach of the duty of loyalty where, as here, those claims

“merely ride the coattails of Plaintiffs’ duty-of-prudence” and the complaint is “devoid of factual

allegations supporting purposeful action” by defendant to benefit itself. Ferguson v. Ruane

Cunniff & Goldfarb Inc., 2019 WL 4466714, at *4 (S.D.N.Y. Sept. 18, 2019) (Carter, Jr., J.)

(emphasis original).3

                          ALLEGATIONS OF THE COMPLAINTS

       A.      The Plaintiffs

       With hundreds of millions or billions under management, 4 Plaintiffs are sophisticated

institutional investors5 who, typically with the advice and assistance of experienced investment


3
        AllianzGI’s motion to dismiss seeks to limit the Complaints to legally cognizable claims.
Given the massive scope of the Complaints, AllianzGI cannot feasibly address all infirm
allegations or claims in this Omnibus Brief, including, for example, obviously hypothetical and
speculative allegations suggesting that “somebody” engaged in market manipulation of the VIX
on or around March 18, 2020, which are untethered to any legal theory. (See, e.g., FFLD/NEHC
SAC ¶ 73 (citing an unidentified “industry expert,” opining that ‘[s]omebody sold the options used
to calculate the VIX” prior to the market open on March 18, 2020 and speculating that it would
have been “‘an institution.’”); see also ATRS Compl. ¶ 107; CMERS Compl. ¶ 125.) AllianzGI
reserves all of its rights with respect to any claims or allegations not addressed herein.
4
       The only exceptions are two sophisticated individuals who invested jointly in the Funds
and are named Plaintiffs in the TMRT-BLYR putative class action. (TMRT/BLYR SAC ¶ 11.)
5
         For example, ATRS has approximately $17.7 billion in assets under management
(“AUM”); BCBS: approximately $5.6 billion in AUM; CLPF: approximately $3.3 billion in AUM;
CMERS: approximately $5.5 billion in AUM; Lehigh: approximately $1.6 billion in AUM; MTA:
approximately $3.3 billion in AUM (MaBSTOA Plan), and approximately $4.8 billion in AUM
(MTA Defined Benefit Pension Plan Master Trust). See ATRS February 3, 2020 Board of Trustees
Meeting Packet at 24, available at https://tinyurl.com/o2qwjdsb; BCBS National Retirement Trust
2019 Form 5500 at Schedule H, p. 2, available at https://tinyurl.com/2ouaf4v9; Chicago Board of
Trustees Laborers’ Pension Fund 2018 From 5500, at Schedule H, p. 2, available at
https://tinyurl.com/7iqocyj4; Employes’ [sic] Retirement System of the City of Milwaukee 2019
Comprehensive Annual Financial Report at 19, available at https://tinyurl.com/19l1zvad; Lehigh
Compl. ¶ 39; MaBSTOA Pension Plan 2019 Financial Statement at 4, available at
https://new.mta.info/document/19121; MTA Defined Benefit Pension Plan 2019 Financial
Statement at 4, available at https://new.mta.info/document/19131. This Court may take judicial


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consultants,6 sought above-market returns by investing in the Funds’ higher-risk options-based

investment strategy. Most Plaintiffs are fiduciaries themselves who owe obligations, whether

under ERISA or otherwise, to their own beneficiaries. As described below (see Part B.2., infra),

each Plaintiff represented that (i) it had evaluated and understood the risks of investing in the

Funds; (ii) the Funds were suitable investments, given Plaintiff’s overall portfolios and investment

objectives; and (iii) Plaintiff could “afford a complete loss” of its investment.

       B.      The Funds’ Governing Documents

               1.      The LLC Agreements

       Each Fund was a separate Limited Liability Company (“LLC”) organized under Delaware

law. To become a non-managing member of the LLC and to receive interests in a Fund, each

Plaintiff agreed to “the terms and conditions set forth [in the Subscription Agreement], in the

[PPM] of the Fund, as the same may be updated from time to time, and in the Limited Liability

Company Agreement of the Fund, as the same may be amended from time to time.” (Subscription

Agreement at 7.) The Subscription and LLC Agreements are governed by Delaware law. (See

Subscription Agreement, Art. VI; LLC Agreement § 8.05.)

       Each LLC Agreement was entered into by Plaintiffs (as non-managing members), the

relevant Fund, and AllianzGI. In the LLC Agreements, AllianzGI accepted appointment as the



notice of these facts, which were either posted to Plaintiffs’ websites or publicly filed with a
government agency. See Wells Fargo Bank, N.A. v. Wrights Mill Holdings, LLC, 127 F. Supp. 3d
156, 167 (S.D.N.Y. 2015) (Engelmayer, J.) (taking judicial notice of “information publicly
announced on a party’s website”); Cunningham v. Cornell Univ., 2017 WL 4358769, at *4
(S.D.N.Y. Sept. 29, 2017) (Castel, J.) (taking judicial notice of information “filed with a
government regulatory agency,” including Forms 5500).
6
        See ATRS Compl. ¶ 17 (referencing “ATRS’s investment consultant Aon”); CLPF Compl.
¶ 20 (referencing CLPF’s “investment consultant, Segal Marco Advisors”); CMERS Compl. ¶ 19
(referencing “CMERS’s investment consultant, Callan”); CTWW Compl. ¶ 19 (also Callan);
BCBS Compl. ¶ 10 (referencing “Aon, [BCBS’s] fiduciary investment adviser”).



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managing member of each Fund (“Managing Member”), with broad authority to “conduct the day-

to-day administration of the [Fund]” and “the power . . . to carry out any and all of the objects and

purposes of the [Fund].” (LLC Agreement § 2.02.) AllianzGI separately “accept[ed] appointment

as the investment manager of the [Fund]” (“Investment Manager”), with “duties” that included

“managing the [Fund’s] assets.” (Id. § 2.03.)

       The LLC Agreements defined contractually how AllianzGI would discharge its “duties” as

Investment Manager. First, when the Funds’ assets were considered ERISA “plan assets” (i.e.,

when 25% or more of the Fund’s assets were invested by ERISA benefit plans (the “ERISA 25%

Threshold”)),7 AllianzGI agreed in Section 2.12 to “discharge its duties” as Investment Manager

“consistent with the standard of care imposed on fiduciaries under ERISA” (the “Contractual

ERISA Standard of Care”). (LLC Agreement § 2.12.)8 Second, when the Funds’ assets did not

meet or exceed the ERISA 25% Threshold, AllianzGI agreed to “use its reasonable best efforts to

discharge its duties consistent with the [prudence] standard of care . . . under Section 404(a)(1)(B)



7
        See 29 C.F.R. § 2510.3-101(a)(2)(ii), (f) (providing that ERISA plan’s investment of plan
assets in equity interests of another entity, such as the Funds, is deemed “significant” when the
ERISA 25% Threshold is met, such that “any person who exercises authority or control respecting
the management or disposition of such underlying assets . . . is a fiduciary of the investing plan”).
8
        ERISA imposes four duties on plan fiduciaries: (1) to act solely in the interests of the plan;
(2) to act “with the care, skill, prudence and diligence” that a person familiar with like matters
would employ; (3) to diversify plan assets; and (4) to act “in accordance with the documents and
instruments governing the plan.” 29 U.S. Code § 1104(a). ERISA Plaintiffs could delegate these
duties to AllianzGI as an investment manager with the “power to manage, acquire, or dispose of”
plan assets, 29 U.S.C. § 1002(38). The Governing Documents make clear that the investing
ERISA Plaintiffs (not AllianzGI) “determined that an investment in the Fund is prudent . . .
considering . . . the composition of the Plan’s total investment portfolio with regard to
diversification.” (Subscription Agreement, Sched. V., Part III(c) (emphasis added).) Moreover
the PPMs made clear that the Funds would not follow plan documents, stipulating that “[w]hether
or not the plan is subject to ERISA, . . . the Managing Member necessarily will not take the
investment objectives of any particular Non-Managing Member that are not consistent with those
of the Fund into account in managing Fund investments.” (PPM at 55 (emphasis added).)



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of ERISA,” but “not any other provisions of ERISA” (the “Contractual Prudence Standard of

Care”). 9 (Id.; accord PPM at 58.) Section 2.12 makes clear that the right to enforce these

contractual obligations “shall be extended to non-ERISA plan Members” and ERISA plan

members alike. (LLC Agreement § 2.12.)

       The LLC Agreements also provided that when making decisions “in its ‘discretion,’”

AllianzGI was required to “consider only such interests and factors as it desires,” and, when it was

not subject to the Contractual ERISA Standard of Care (which included the ERISA duty of

loyalty), AllianzGI could “consider its own interests and the interests of its Affiliates.” (LLC

Agreement § 2.01.) AllianzGI was further permitted to enter into individualized “side letters or

similar agreements” with any non-managing member that could “alter[] or supplement[]” the terms

of the LLC Agreement, including “different . . . [f]ee[s] . . . and information rights.” (Id. § 2.13.)

As Managing Member, AllianzGI could “devote so much of [its] time to the affairs of the [Fund]

as in [its] judgment” was reasonably required, could “exercis[e] investment responsibility for any

other business,” and could “deal with the [Fund] in the same manner and to the same extent as any

other person,” so long as the dealings were “commercially reasonable.” (Id. § 2.05.)

       Finally, as expressly permitted under the Delaware Limited Liability Act, 6 Del. Code § 18-

1101(c), the parties agreed that “[t]o the fullest extent permitted by law, the provisions of th[e

LLC] Agreement . . . to the extent that they modify, restrict or eliminate the duties (including

fiduciary duties) and liabilities or rights and powers of any person . . . with respect to matters

expressly provided for in this Agreement, are agreed by the parties hereto to replace such other



9
        Section 404(a)(1)(B) sets out ERISA’s “Prudent Man Standard of Care,” requiring the
“care, skill, prudence, and diligence under the circumstances then prevailing that a prudent man
acting in a like capacity and familiar with such matters would use in the conduct of an enterprise
of a like character and with like aims.” 29 U.S.C. § 1104(a)(1)(B).



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duties and liabilities of such person.” (LLC Agreement § 2.07 (emphasis added).)

               2.      Subscription Agreements

       In subscribing for its interests in the Funds, each Plaintiff made representations that it

(i) was not relying on AllianzGI for any investment advice; (ii) had fully evaluated and understood

the risks of investing in the Funds; and (iii) could “afford a complete loss” of its investment.

       Although certain Plaintiffs claim that AllianzGI owed fiduciary duties as Plaintiffs’

“investment adviser,” each Plaintiff represented in the Subscription Agreements that “in making

its [independent] decision to subscribe for an Interest, the [Plaintiff] relied solely upon the [PPM],

the [LLC Agreements] and independent investigations made by the [Plaintiff].” (Subscription

Agreement § II(E).) Each Plaintiff also expressly disclaimed reliance on the Structured Alpha

Funds or AllianzGI “with respect to the legal, tax and other economic considerations involved” in

its investment (id.), and further represented that:

              it was “provided an opportunity to obtain any additional information concerning
               the offering,” and to “ask questions of, and receive answers from, the Managing
               Member concerning the terms and conditions of the offering and other matters
               pertaining to [its] investment” (id. § II(H));
              its “investment . . . is consistent with [its] investment purposes, objectives and cash
               flow requirements . . . and will not adversely affect [its] overall need for
               diversification and liquidity” (id. § II(N));

              it “(either independently or in collaboration with its consultants and advisors) has
               such knowledge and experience in financial and business matters that [it] is capable
               of evaluating the merits and risks of the [] investment . . . and is able to bear such
               risks, and has obtained . . . sufficient information from the Managing Member to
               evaluate the merits and risks of [the] investment” (id. § II(K)); and

              it had, in fact, “determined” that the Fund was “a suitable investment”; that it
               “underst[ood] there are substantial risks of loss” and that it could “afford a



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               complete loss of the investment” (id. §§ II(K), (L) (emphasis added)).

               3.      Side Letters

       Certain Plaintiffs entered into Side Letters with AllianzGI. As relevant here, certain of

those Side Letters included contractual obligations to meet prescribed standards of care that were

either identical, or substantially similar, to Section 2.12 of the LLC Agreements. (See Ex. 53 at 4-

5; Ex. 74 at 2; Ex. 102 at 2.)

               4.      The PPMs

       The PPM for each Fund disclosed the Funds’ investment objectives and options-based

strategy, and the substantial risks associated with investing in the Funds.

                       (a)       “Alpha” and “Beta” Components

       Each Fund had a similar overall investment strategy with two components: (1) a “beta”

component, consisting of investments “that [sought] to deliver a return equivalent” to (or, in some

Funds, that had direct exposure to) a specified “benchmark” index; and (2) the “alpha” component,

which, “using the underlying investments of the [b]eta [c]omponent as collateral,” sought to

generate targeted outperformance over and above the benchmark index. (PPM at 1-2; see ATRS

Compl. ¶ 53; TMRT/BLYR SAC ¶¶ 28-30.) For example, Structured Alpha 1000 LLC sought to

generate approximately 1000 basis points (or 10%) of “alpha” outperformance, net of AllianzGI’s

fees (i.e., 14% to 16% in gross returns) over the BofA Merrill Lynch 3-Month U.S. Treasury Bill

Index (see CMERS Compl. ¶ 54; PPM at 1), whereas Structured Alpha U.S. Equity 250 LLC

sought to generate approximately 250 basis points (or 2.5%) of “alpha” outperformance, net of

AllianzGI’s fees (i.e., 3.75% in gross returns) over the S&P 500 Index (see ATRS Compl. ¶ 50).

                       (b)       Range-Bound Spreads

       The Funds “s[ought] to” achieve their alpha component through an options-based strategy.

(PPM at 1.) Specifically, in exchange for fixed “premium” payments, the Funds sold mostly short-


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term “options” contracts to third-party options purchasers granting the purchaser the right (but not

the obligation) to buy or sell “equity indices” (for example, shares in the S&P 500 Index) at set

“strike” prices. (PPM at 1, 25; see TMRT/BLYR SAC ¶ 35.)10 A “put” option gave the third-

party purchaser “the right to receive a cash payment equal to any depreciation in the value of the

[I]ndex below the strike price,” and conversely a “call option” gave the purchaser the right to a

cash payment equal to any appreciation over the strike price. (PPM at 25.)

       Third-party market participants purchased put and call options from the Funds for many

reasons, including to hedge against market movements that could adversely impact their own

portfolios. At the same time, the Funds, as options sellers, were (obviously) betting that the S&P

Index would not significantly “appreciate” or “depreciate” and would instead remain within the

range of the options’ strike prices over the short-term period that the options were in place. (See

TMRT/BLYR SAC ¶¶ 41-42.) If that happened, the options would expire worthless or “out of the

money” (i.e., without the S&P 500 Index moving significantly enough up or down to hit the strike

prices), and the Funds would retain any premium payments. (See id. ¶¶ 37-38, 41.) As disclosed

to Plaintiffs, this options strategy sought to “capture positive payoffs if the level of the underlying

[I]ndex . . . ends up within the profit zone.” (PPM at 1 (emphasis added); see Ex. 6 at 30 (diagram

showing “loss zone” outside of +6% to -9% profit zone around exemplar S&P 500 Index levels

based on “[s]ell[ing] options that have the greatest probability of expiring worthless”).)

       Most of the equity index put and call options that the Funds sold to third-party options

purchasers were built around a range of strike prices above and below where the S&P 500 Index

was currently trading (the “profit zone”). The Funds’ marketing materials referred to these options


10
        For some Funds, the benchmark index for the “beta component” was the S&P 500 Index,
and the “alpha” component also involved trading options on the S&P 500 Index. (See Ex. 23
(Structured Alpha U.S. Equity 500 LLC PPM) at 1-2, 19.)



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as “range-bound spreads.” (See Ex. 5 at 12-13; TMRT/BLYR SAC ¶ 42.) Because “positive

payoffs” to the Funds from the range-bound spreads depended on the S&P 500 Index staying

within the “range,” the Funds disclosed to Plaintiffs and other investors that these positions were

necessarily “short” volatility (i.e., they were betting against volatile equity market movements that

could drive market levels outside the range). (Ex. 5 at 12 (labeling range-bound spreads as “short

volatility” positions).) The Funds further disclosed that “range-bound spreads were “[d]esigned

to generate returns in normal up, down or flat markets”; that “[t]hese positions ha[d] contributed

two-thirds of the portfolio’s alpha since inception”; and that the spreads had an “85%” “probability

of success.” (Id. at 12-13 (emphasis added).)

       Thus, as Plaintiffs understood, the “range-bound spreads” necessarily exposed the Funds

to losses, and potentially steep losses, if the equity markets rapidly moved outside the expected

range—i.e., if the markets experienced substantial “appreciation” or “depreciation”—causing the

options to hit the “strike” prices and be “in the money.” (See TMRT/BLYR SAC ¶ 38.) If that

happened, options purchasers would exercise their options, and the Funds would be required to

pay those purchasers on the difference between the strike price and S&P 500 Index value. (Id.)

As the PPMs specifically warned, the Funds “w[ould] be responsible, during the option’s life, for

any decreases in the value of the [I]ndex below the strike price of the put option[s]” (or increases

in value above the strike price of the “call options”). (PPM at 25 (emphasis added).)

       Moreover, “[b]ecause the [options’] exercise is settled in cash, . . . the Fund[s would] be

required to deliver an amount of cash” to pay that difference in value. (Id. (emphasis added); see

also Ex. 5 at 36 (in selling put options on the S&P 500 Index, the Funds “[bore] a risk of loss if

the value of the [S&P 500] decline[d] below the exercise price”). As a result, “the exercise of . . .

options sold by the Fund[s] may require the Fund[s] to sell portfolio securities to generate cash at




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inopportune times or for unattractive prices.” (PPM at 25.) As certain Plaintiffs concede, “the

price of striving for returns that are consistently (and materially) greater than the return of a

benchmark [index] . . . is that the risk of incurring large losses will increase sharply as the market

moves increasingly towards (and past) the extremities of the overall ‘profit zones’ that the portfolio

was originally built around.” (TMRT/BLYR SAC ¶ 53 (emphasis added).)

       Finally, because of the challenges involved in managing the Funds’ options portfolios and

the need to respond in real time to market conditions, the PPMs made clear that AllianzGI had

broad discretion to “formulate new approaches” to the “Fund[s’] investment objective,” and that

the Funds could “change any of [their] investment strategies without prior consent of, or notice

to, the Members.” (PPM at 2, 19-20 (emphasis added).)

                       (c)     Directional Spreads and Hedging Positions

       The Funds engaged in two types of trading positions designed to offset partially the risks

inherent in the range-bound spreads. These consisted of “directional spreads” and “hedging

positions.” (Ex. 5 at 13.) Directional spreads were “option positions that benefit[ed] from a large

index move to the upside and/or downside.” (Id. at 13.) In other words, these positions consisted

of a smaller number of options that generated returns if the underlying equity index “fell outside

the core profit zone established [by] the ‘[r]ange-[b]ound [s]pread[s].’” (TMRT/BLYR ¶ 48.) As

disclosed to Plaintiffs, directional spreads had historically contributed about “one-third of the

portfolio’s alpha” and consisted of both “long [and] short volatility” positions. (Id. at 49; BCBS

Compl. ¶ 26.)

       Separately, the Funds had hedging positions in place to offer some protection against an

“overnight” or “short-term equity-market crash.” (Ex. 5 at 12, 14.) These hedging positions

consisted of purchasing put options, i.e., options that would give the Funds, as the option purchaser

(not as seller for these positions), the right to a cash payment if the S&P Index moved below the


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strike price. (See TMRT/BLYR SAC ¶ 50.) The PPM explained that such “hedging against a

decline in the value of a portfolio position does not . . . prevent losses” if the S&P 500 Index

declined outside the range, “but establishes other positions designed to gain from those same

developments.” (PPM at 26.) And, as the Funds warned, the “the Managing Member may not

seek or be able to establish a sufficiently accurate correlation between hedging instruments and

the portfolio holdings being hedged,” which could “expose the Funds to risk of loss.” (Id.)11

       Moreover, the Funds generated no “alpha” or investment return from these hedging

positions, but instead incurred costs in purchasing these protective positions, which could be steep,

in certain high-volatility market conditions. (Id.; see also Ex. 5 at 14 (estimating cost of hedges

as “340-400 [basis points]” in a “[h]igh volatility (VIX 25+)” environment).) Plaintiffs were well

aware that the Funds’ hedging positions could partially offset losses if the market deteriorated

suddenly, and only at significant cost. In February 2018, for example, the Funds incurred losses

in a “sharply whipsawing [market] environment” and eventually recouped those losses in the

following months as markets normalized. (TMRT/BLYR SAC ¶ 86.)12

                       (d)     The Substantial Risk Warnings to Plaintiffs

       The PPMs provided Plaintiffs with detailed information about the Funds, their investment

objectives, AllianzGI’s broad discretion in pursuing those objectives, investor eligibility


11
       The disclosures regarding hedging positions appear in the PPM for Structured Alpha 1000
LLC but not other PPMs. Notably, however, 10 of the 20 Plaintiffs (in seven of the 12 Related
Actions) invested in this Fund. (See App. B.) All Plaintiffs were nevertheless provided with
information and presentations on the Funds’ hedging strategy. (See, e.g., Ex. 5 at 12, 14.)
12
        See App. B (showing all Plaintiffs’ initial investment well prior to 2018); TMRT/BLYR
SAC ¶¶ 81-87 (describing “violent[]” disruption in equity markets in February 2018
“Volmageddon” event when S&P 500 Index plummeted and volatility soared, causing Funds to
“underperform[]” or “decline” and that Funds had “recouped” losses “from the first quarter” after
end of second quarter); BCBS Compl. ¶ 55 (“In February 2018, Structured Alpha underperformed
relative to its beta benchmarks. Those short-term investment losses were recouped in the following
months . . . .”); UFCW Compl. ¶ 57 (same); Lehigh FAC ¶ 175 (alleging losses in February 2018).


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requirements, and, importantly, the very significant risks of investing in the Funds. (PPM at 1-2,

6-7, 20-35.)

       Specifically, the Funds warned, on the very first page of the PPMs, that “THE [FUNDS’]

INVESTMENT PRACTICES, BY THEIR NATURE, MAY BE CONSIDERED TO INVOLVE

A HIGH DEGREE OF RISK.” (Id. at ii (emphasis original).) The PPMs gave “no assurance[s]

that the Fund[s] will achieve [their] targeted returns,” or that “the investment strategies to be used

by the Fund[s] will be successful under all or any market conditions.” (Id. at 21, 22.) The PPMs

disclosed that the strategy was “speculative” and contemplated “significant[]” investments in

complex financial instruments such as derivatives” which “involve[] risks different from, or

possibly greater than, the risks associated with investing directly in securities and other traditional

investments.” (Id. at 20, 23.)

       The Funds further warned that “whether, when and how to use options involves the exercise

of skill and judgment,” and that “even a well-conceived and well-executed options program may

be adversely affected by market behavior or unexpected events.” (Id. at 24.) The PPMs explained

that “[s]uccessful options strategies may require the anticipation of future movements in securities

prices, interest rates and other economic factors,” and gave “[n]o assurances” that “the Managing

Member’s judgments in this respect will be correct.” (Id.)

       In fact, the Funds warned in the PPMs of the very risks that ultimately began to materialize

in February 2020, cautioning that “[u]nexpected volatility . . . in the markets in which the Fund[s]

directly or indirectly hold[] positions could impair the Fund[s’] ability to carry out [their] business

or cause [them] to incur losses.” (Id. at 29 (emphasis added).) The PPMs underscored the risks

specific to the Funds’ options-based trading strategy, warning that “success . . . depends on the

Managing Member’s ability . . . to predict future market movements”; that “[i]nvestments in the




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[Funds] are dependent on the smooth functioning of the options exchanges”; and that “[i]f the

options exchanges are not operating as expected, the option strategies herein could be adversely

affected.” (Id. at 21, 20.) The Funds further cautioned that their proprietary models “may not

correctly forecast future investment results” and “may not be able to effectively optimize the

investment objective of given transactions and may result in losses.” (Id. at 32.).

       The PPMs further explained that the Funds were exempt from registration under the

Securities Act of 1933 and the Investment Company Act of 1940 because (among other reasons)

interests in the Funds were sold only to a limited number of sophisticated investors, under

applicable rules, “who underst[ood] the nature of the investment, d[id] not require more than

limited liquidity in the investment and c[ould] bear the economic risks of the investment including

loss of principal.” (Id. at 17-18, 35 (emphasis added).) Investors were specifically required to be

“an accredited investor” under the Securities Act and a “qualified client” under the Investment

Advisers Act, which include, for example, (i) “any plan established and maintained by a state, its

political subdivisions, or any agency or instrumentality of a state” for the benefit of its employees

with total assets in excess of $5,000,000 (such as ATRS, CMERS, FFLD and MTA); or (ii) “any

employee benefit plan” under ERISA with total assets over $5 million (such as the ERISA

Plaintiffs here). (Id. at 17-18; see 17 C.F.R. §§ 230.501(a)(1), 275.205-3(d)(1).) The Funds

imposed strict limitations on investors’ ability to withdraw their interests that required them to

“bear the economic risk of [their] investment . . . for an indefinite period of time.” (PPM at 17.)

The PPMs warned that these restrictions meant that investors “may not be able to liquidate their

investment in the event of an emergency or for any other reason.” (Id. at 32.)

       The Funds made clear that “in making an investment decision, investors must rely upon

their own examination of the Fund[s] . . . including the merits and risks involved” (id. at ii), and




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the Funds “urged” potential investors “to consult with [their] own advisers to determine the

suitability of an investment . . . .” (Id. at 18.) The Funds specifically warned ERISA employee

benefit plan investors (including nine of the Plaintiffs here)13 that “neither [AllianzGI] nor the

Fund[s] [are] responsible for determining, and neither of them makes any representation regarding,

whether a purchase of interests is a prudent or suitable investment for any employee benefit plan.”

(Id. at 55.) Nevertheless, to inform their decision-making, all prospective investors were “invited

to meet with . . . representatives of the Fund[s] or [AllianzGI] to discuss with them, and to ask

questions of and receive answers from them . . . and to obtain any [reasonably available] additional

information . . . necessary to verify the information” in the PPM. (Id. at iii.)

       The PPMs also disclosed that AllianzGI, as Managing Member of the Funds, would receive

for its services an “Incentive Allocation,” or performance fee, equal to 30 percent of the Fund’s

quarterly “alpha” returns in excess of the benchmark index, but only if those returns exceeded the

aggregate amount of any past underperformance from prior periods when compared to the

benchmark index (a so-called “high water mark” feature). (PPM at 6-7.) AllianzGI received no

other compensation.

       C.      The February and March 2020 Covid-19 Market Crash

       In February and March 2020, the Covid-19 pandemic resulted in unprecedented volatility

in financial markets. On February 19, 2020, the S&P 500 Index closed at a record high and the

Chicago Board Options Exchange Volatility Index (“VIX”) was relatively low, closing at 14.38.14



13
        The ERISA Plaintiffs are: BCBS, BLYR, CLPF, CRPT, CTWW, IBEW, NEHC (a named
Plaintiff in FFLD/NEHC), TMRT, and UFCW. These nine ERISA Plaintiffs are in eight actions
because TMRT and BLYR are named Plaintiffs in a single putative class action.
14
       The VIX represents market participants’ “expectations for market volatility over the next
30 days and typically moves upward as equity markets experience downturns.” FFLD/NEHC SAC
¶ 40 n.27.) In short, as the VIX increases, “so too does the risk associated with the underlying


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(See Fred Imbert, S&P 500 and Nasdaq jump to record highs, CNBC (Feb. 19, 2020, 4:07 PM),

https://tinyurl.com/uu2zvjmb; MTA FAC ¶ 88.) 15 Just four trading days later, on Tuesday,

February 25, 2020, in response to surging Covid-19 cases in Italy and South Korea, the S&P 500

Index closed down 7.6%. (MTA FAC ¶ 88.) With “stock indices [] plummeting, volatility in the

options markets was on the rise” (IBEW FAC ¶ 65), and the VIX almost doubled to 27.85 by

February 25, 2020 (MTA FAC ¶ 88). Just three trading days later on Friday, February 28, 2020,

the VIX soared from its February 19, 2020 level to a “historic high” of 40.11 (ATRS Compl. ¶ 77;

MTA FAC ¶ 71), with the S&P 500 Index down nearly 13% from its record high ten days earlier

(MTA FAC ¶ 70).

       The markets were not in a persistent freefall, however. Just three trading days into March,

“[t]he S&P 500 [Index] [] briefly rallied” and had “recoup[ed] nearly half of its losses” by

Wednesday, March 4, 2020 (TMRT/BLYR SAC ¶ 94 (emphasis added)), with the VIX declining

substantially to 31.99. (MTA FAC ¶ 88; see also id. ¶ 85; IBEW Compl. ¶ 80.)

       The markets then reversed course again. The VIX jumped back up and stayed around 40

on March 5 and 6, 2020, with the S&P 500 Index down 3.4% on March 5 and another 2% on

March 6. (MTA FAC ¶ 88.) After trading resumed on Monday, March 9, 2020 the S&P 500 Index

had “declined by 7% within five minutes of the opening bell” (ATRS Compl. ¶ 90 (emphasis



options products” (IBEW Compl. ¶ 65), because the likelihood of strike prices being hit increases
as markets move unpredictably.
15
       On a motion to dismiss, this Court may take judicial notice of facts that “can be accurately
and readily determined from sources whose accuracy cannot reasonably be questioned,” Fed. R.
Evid. 201(b)(2), including “‘well-publicized stock prices.’” Barilli v. Sky Solar Holdings, Ltd.,
389 F. Supp. 3d 232, 248 n.11 (S.D.N.Y. 2019) (Swain, J.) (quoting Ganino v. Citizens Utils. Co.,
228 F.3d 154, 166 n.8 (2d Cir. 2000)). The Court may also “take judicial notice of the publication
of a news article” to establish “the fact that press coverage ... contained certain information,
without regard to the truth of [its] contents.” Gentry v. Kaltner, 2020 WL 1467358, at *6
(S.D.N.Y. Mar. 25, 2020) (Karas, J.) (quotations and citation omitted).


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added)), triggering a market-wide circuit breaker so that “trading was halted on the New York

Stock Exchange.” (FFLD/NEHC SAC ¶ 62). The VIX rose to 54.46, a 48% increase from March

3, 2020. (MTA FAC ¶88.) See Yun Li, Dow sinks 2,000 points in worst day since 2008, S&P 500

drops more than 7%, CNBC (Mar. 9, 2020, 5:18 PM), https://tinyurl.com/v9pz6tft.

       The following trading days brought further volatility. “On March 9, 2020, the S&P 500

Index dropped 7.6%,” but then “rallied by 4.9%” on March 10, 2020. (TMRT/BLYR SAC ¶ 113)

On March 11, 2020, the World Health Organization announced that the spread of Covid-19 was

officially a pandemic “due to the rapid increase in cases worldwide” and “[t]he markets collapsed.”

(MTA FAC ¶ 91.) “The S&P 500 fell 4.8% on March 11, 2020 and 9.5% on March 12, 2020,”

and “the VIX soared from 53 to 75.” (Id.) The circuit breaker was triggered again minutes after

the opening bell on March 12, 2020. See Michael Bloom et al., ‘Circuit breaker’ triggered again

to keep stocks from falling through floor. What you need to know, CNBC (Mar. 12, 2020, 9:53

AM), https://tinyurl.com/jxfpku4r.

       The market then improved significantly on Friday, March 13, 2020. The VIX declined

substantially to 57.83 and the S&P 500 Index gained back 9.3%, almost the entire amount shed

the prior day. (MTA FAC ¶ 88; TMRT/BLYR SAC ¶ 113.) But the following trading day,

Monday, March 16, 2020, the “United States equity markets experienced the second-biggest single

day drop in history, behind only Black Monday of 1987.” (FFLD/NEHC SAC ¶ 64). The VIX

surged nearly 25 points in a single day, or almost 43%, to close at a record high of 82.69 (MTA

FAC ¶ 88), by which point it was up approximately 500% for the year. See Yun Li, Wall Street’s

fear gauge closes at highest level ever, surpassing even financial crisis peak, CNBC (Mar. 16,

2020 6:33 PM), https://tinyurl.com/2kxnt7ac. The market rallied yet again the next day, regaining

6% (TMRT/BLYR SAC ¶ 113), but by that point the S&P 500 Index was down approximately




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25% from its February 19, 2020 record and volatility levels remained high (MTA FAC ¶ 88), and

in the course of these extreme, historic market events lasting almost a month, the Funds incurred

significant losses.

        D.      The Complaints

                Plaintiffs variously allege that AllianzGI mismanaged the Funds by: (a) positioning

the portfolios to be “short volatility”; (b) having insufficient hedging positions; (c) having

inadequate risk management procedures; and (d) continuing to imprudently manage the Funds’

assets in March 2020 after losses were incurred in February 2020, in an allegedly “self-interested”

effort to recoup its performance fee.

                1.     “Short Volatility” Allegations

        By cherry-picking statements from Fund marketing materials, Plaintiffs allege that

AllianzGI “abandoned” the Funds’ investment strategy in February and March 2020 and made a

“directional bet” by positioning the Funds to be “short volatility”—at a time “when the Funds were

highly sensitive to market volatility.” (ATRS Compl. ¶¶ 2, 61, 78; accord BCBS Compl. ¶¶ 92,

111; CTWW Compl. ¶¶ 13, 15; CPPT FAC ¶¶ 12-14.) Plaintiffs allege that this “bet against

volatility” contravened the Funds’ investment strategy of being “effectively market-neutral” and

to “never make a forecast on the direction of equities or volatility.” (ATRS Compl. ¶¶ 10, 61;

IBEW FAC ¶ 83; see also BCBS Compl. ¶ 91; IBEW FAC ¶ 83; Lehigh FAC ¶¶ 133, 147; MTA

FAC ¶ 88.)

        In making these allegations, Plaintiffs ignore the Funds’ express disclosures that the range-

bound spreads were “short volatility” positions (and so were always sensitive to volatility) (Ex. 6

at 29, 30 (emphasis added)); that these short volatility positions had “contributed two-thirds of the

portfolio’s alpha since inception” (id.); and that the Funds generated “positive payoffs” over the

short term only if the S&P 500 Index stayed within the “profit zone.” (PPM at 1.) Accordingly,


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most of the Funds’ returns were always generated from short volatility positions. (Ex. 6 at 27.)

       Plaintiffs similarly ignore express warnings that the Funds could incur significant losses if

there were “[u]nexpected volatility . . . in the markets,” which is exactly what occurred in February

and March 2020. (PPM at 29.) Both the PPMs and marketing materials further disclosed that the

Funds’ investment strategy was “dependent on the smooth functioning of the option exchanges”

and warned that if the “option exchanges are not operating as expected, the option strategies herein

could be adversely affected.” (Id. at 20.) Plaintiffs represented that they had “evaluated” and

“underst[ood]” these risks. (Subscription Agreement §§ II (K), (L).)

               2.      Hedging Allegations

       Plaintiffs allege that AllianzGI “promised that hedges would be in place ‘at all times’ to

cap the downside risk” and “cabin investment losses to a ‘defined maximum loss,’” but that in

February and March 2020, AllianzGI “abandoned the hedging strategy . . . , leaving the portfolio

almost entirely unhedged against a spike in market volatility.” (BCBS Compl. ¶¶ 3, 5; see also

CTWW Compl. ¶¶113, 197; FFLD/NEHC SAC ¶¶ 41, 44, 147.)

       Certain Plaintiffs allege that in 2019, AllianzGI adopted a new hedging “configuration”

strategy focused on purchasing fewer, potentially more protective hedges in low-volatility

environments. (See, e.g., UFCW Compl. ¶¶ 61-63; BCBS Compl. ¶¶ 72-74.) According to these

Plaintiffs, AllianzGI then improperly “abandoned” the new-configuration hedging positions and

replaced them with less protective positions in February 2020. (BCBS Compl. ¶¶ 151, 190; UFCW

Compl. ¶ 81.) But, as clearly stated in the Funds’ presentation on the “new configuration” hedges,

these positions were to be “enacted only when [the Funds] are building positions in a low VIX

environment,” (Ex. 6 at 13 (emphasis added), and would be “deploy[ed]” when the VIX was less

than . . . 22; but if the VIX was above 22, the Funds would “deploy[]” the “original” configuration

hedges. (See BCBS Compl. ¶ 74.) Because volatility levels in February and March 2020 soared,


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with the VIX climbing above 80, the “new configuration” hedges were not meant to be in place at

those levels of volatility.

                3.      Risk Management Allegations

        The Complaints allege that AllianzGI failed to implement or to abide by certain risk

management protocols by either failing to conduct adequate “stress tests” or disregarding the tests

it did perform, and then speculate that those tests would have identified the risks that materialized

in February and March 2020 and their impact on the Funds’ portfolios. (See, e.g., CMERS Compl.

¶ 107; CPPT FAC ¶ 89; MTA FAC ¶ 9.) With the benefit of hindsight, Plaintiffs allege lapses in

risk management, but never explain how risk management or stress testing should have functioned

during the Covid-19 market crash in February and March 2020 or how AllianzGI could have

mitigated risks that such tests might have revealed during that market crash.

        As the Funds disclosed to Plaintiffs, “[r]estructuring when necessary” was “vital” to the

“risk management process.” (Ex. 5 at 16.) In other words, in a declining market environment, the

Funds would manage risk by closing out of existing options contracts and entering into new

“restructure[d] profit zones” based on the equity markets’ current position. (PPM at 1; see

TMRT/BLYR SAC ¶ 54). Plaintiffs conclusorily allege that there is “no excuse” for AllianzGI’s

allegedly “[in]adequate” restructuring efforts, but they plead no facts showing how AllianzGI

could have successfully restructured as the markets whipsawed up and down for weeks in February

and March 2020. (TMRT/BLYR SAC ¶ 118.)

                4.      Self-Dealing Allegations

        Finally, in every Complaint, Plaintiffs claim that AllianzGI acted out of self-interest in

March 2020 and subjected the Funds to additional risk to try to recoup losses that the Funds had

incurred in February 2020, not for the benefit of the Funds’ investors, but in the hopes that, in

reversing those losses, AllianzGI could eventually earn performance fees (even though those fees


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were based directly on the Funds’ profits). Plaintiffs variously allege that AllianzGI “doubled

down on its risky strategy” to “salvage” its fees, and that AllianzGI “bet [that] a market rebound”

would reverse the Funds’ underperformance so that it could “receive [] new fees.” (FFLD/NEHC

SAC ¶¶ 71, 116; Lehigh FAC ¶¶ 203-06; see also ATRS Compl. ¶¶ 101-04; CPPT FAC ¶¶ 81, 87;

UFCW Compl. ¶ 70.)

       But Plaintiffs do not plead any additional facts to support the required inference that

AllianzGI acted for a self-interested purpose in trading the Funds’ assets in March 2020. As shown

above, when the Funds had underperformed their benchmarks in prior market dislocations,

AllianzGI eventually recouped those losses and continued to earn its performance fees, with no

suggestion of any self-dealing. (See Ex. 6 at 11 (showing that as of April 2019, Fund had recovered

most of the -6.12% negative return from Q4 2018).) Plaintiffs now rely solely on the fact that

AllianzGI was entitled (exclusively) to a performance fee as its compensation—an arrangement

that aligned its interests with those of the Funds’ investors—as a basis to claim that AllianzGI

somehow acted disloyally in managing the Funds through a historic market dislocation.

                                         ARGUMENT

I.     BECAUSE PLAINTIFFS CANNOT ASSERT CLAIMS BASED ON DUTIES
       OWED TO THE FUNDS THEMSELVES, PLAINTIFFS ARE LIMITED TO
       DIRECT CLAIMS UNDER ERISA OR THE PARTIES’ CONTRACTS.

               Plaintiff Key:     All Actions

       In the LLC Agreements, AllianzGI accepted appointment as each Fund’s Managing

Member responsible for overall “management” and “day-to-day administration” (LLC Agreement

§§ 2.01; 2.02), and as Investment Manager with duties that included “manag[ing] [each] [Fund’s]

assets.” (Id. § 2.03.) The gravamen of Plaintiffs’ claims indisputably concerns AllianzGI’s

“management of the Funds’ assets” in February and March 2020, and thus implicates duties that

AllianzGI, as Investment Manager, owed to the Funds in which Plaintiffs, as non-managing


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members of the LLCs, held passive interests.

       Under governing Delaware law, “claims of mismanagement . . . are derivative in nature.”

Feldman v. Cutaia, 951 A.2d 727, 734-35 (Del. 2008) (citing Kramer v. Western Pacific Indus.,

Inc., 546 A.2d 348, 354 (Del. 1988)); see Albert v. Alex Brown Mgmt. Servs., 2005 WL 2130607,

at *13 (Del. Ch. Aug. 26, 2005) (“claims based on directors’ or managers’ alleged

“mismanagement” of a corporate entity are “‘paradigmatic derivative claim[s].’”).16 In Newman

v. Family Management Corporation, as here, plaintiffs, who were limited partners in an investment

fund that suffered losses, brought breach of fiduciary duty and gross negligence claims “based on

the alleged mismanagement of the [Fund] through the failure to conduct adequate due diligence.”

530 F. App’x 21, 27 (2d Cir. 2013). In affirming dismissal of those claims, the Second Circuit,

applying Delaware law, held that such claims failed to allege any “unique injury” to plaintiffs, and

that the claims accordingly “can only be asserted derivatively.” Id. (citing Kramer v. W. Pac.

Indus., Inc., 546 A.2d 348, 353 (Del.1988) (“A claim of mismanagement . . . represents a direct

wrong to the corporation that is indirectly experienced by all shareholders”) (emphasis added).)

       Similarly, plaintiff in San Diego Cnty. Emps. Ret. Ass’n v. Maounis, 749 F. Supp. 2d 104,

127 (S.D.N.Y. 2010) (Batts, J.), as in this case, sought to recoup losses on highly risky hedge fund

investments, and alleged, among other things, that the fund managers breached fiduciary duties

and were grossly negligent by “fail[ing] to control for risk” in the fund’s “trading activities,”

“failing to properly manage the Fund,” and “failing to exercise proper risk management . . . .” 749



16
        Because the Funds are Delaware LLCs, Delaware law governs whether claims belong to
the Funds such that they must be brought derivatively, or whether they belong directly to investors.
See Debussy LLC v. Deutsche Bank AG, 2006 WL 800956, at *2 (S.D.N.Y. Mar. 29, 2006)
(Stein, J.) (“When deciding . . . whether claims should be brought directly or derivatively, courts
must look to the law of the fund’s state of incorporation.” (citation omitted)), aff’d, 242 F. App’x.
735 (2d Cir. 2007).



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F. Supp. 2d at 126. In dismissing those claims, the court, applying Delaware law, held that “[the]

allegation[] that Defendants broke fiduciary duties . . . by failing to manage properly the Fund[]

is, like [p]laintiff’s gross negligence claims, a classic claim of fund mismanagement that belongs

to the Fund, and is therefore derivative.” Id. at 127 (emphasis added); see also Debussy, 2006 WL

800956, at *3 (applying Delaware law and finding “injury flowing from a claim of

mismanagement . . . by the portfolio manager of the [corporation’s] assets[,] is a wrong to the

corporation”) (citing Dieterich v. Harrer, 857 A.2d 1017, 1027 (Del. Ch. 2004)); In re Optimal

U.S. Litig., 813 F. Supp. 2d 351, 377 (S.D.N.Y. 2011) (Scheindlin, J.) (dismissing breach of

fiduciary duty and gross negligence claims based on “‘fail[ure] to supervise . . . the investment of

[a] [f]und’s assets’” as claims “‘that belong[] to the [f]und, and [are] therefore derivative’”

(quoting Maounis, 749 F. Supp. 2d at 126-27)).

       As in Maounis, Plaintiffs assert claims that arise from AllianzGI’s alleged

“mismanagement” of the Funds,17 but do not assert any claims derivatively and accordingly have

made no attempt to meet the requirements of Fed. R. Civ. P. 23.1.18 To state such claims in their

own right, Plaintiffs—as LLC members akin to corporate shareholders—must allege a “direct

injury” to them that is “independent of any alleged injury to the corporation” and “demonstrate



17
       See, e.g., ATRS Compl. ¶ 121 (alleging losses due to “negligent mismanagement of the
Alpha Funds”); BCBS Compl. ¶ 9 (alleging losses “beyond what [BCBS] would have lost had
Allianz managed the funds prudently”); CLPF Compl. ¶ 190 (alleging AllianzGI “fail[ed] to
exercise reasonable care in properly protecting the Alpha Funds”); CMERS Compl ¶ 143 (alleging
losses “due to AllianzGI’s negligent mismanagement of the Alpha Funds”); CPPT FAC ¶ 15
(same); CTWW Compl. ¶ 153 (same); FFLD/NEHC SAC ¶ 77 (same); IBEW FAC ¶ 100 (same);
Lehigh FAC ¶ 272 (same); MTA FAC ¶ 107 (same); TMRT/BLYR SAC ¶¶ 156-57 (same);
UFCW Compl. ¶ 108 (same).
18
      Rule 23.1 requires, among other conditions, that a complaint asserting derivative claims
“be verified” and “state with particularity” attempts to obtain “the desired action” from
management, and “the reasons for not obtaining the action or not making the effort.”



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that the duty breached was owed to the [Plaintiffs],” not to the Funds. Tooley v. Donaldson, Lufkin

& Jenrette, Inc., 845 A.2d 1031, 1039 (Del. 2004) (emphasis added). As shown below, the only

viable bases in the Complaints of duties “owed to Plaintiffs” in connection with AllianzGI’s

management of the Funds’ assets (i.e., claims that are not “paradigmatic” derivative claims under

Delaware law) are (i) ERISA or (ii) the parties’ contracts.

       First, by operation of law, when the ERISA 25% Threshold was met or exceeded,

AllianzGI was subject to ERISA fiduciary duties in its management of those assets. See 29 C.F.R.

§ 2510.3-101(f)(2).   ERISA provides a civil enforcement regime that permits ERISA plan

fiduciaries (such as the nine ERISA Plaintiffs) to seek “appropriate relief,” including recovery for

losses, “resulting from” an investment manager’s breach of those duties. See 29 U.S.C. §§ 1109,

1132(a)(2).

       Second, because the Delaware Limited Liability Company Act (“LLCA”) provides for

“maximum . . . freedom of contract,” 6 Del. Code § 18-1101(b), the parties to an LLC agreement,

such as those governing the organization of each of the Funds, can establish direct rights by

contract. See Fisk Ventures, LLC v. Segal, 2008 WL 1961156, at *1 (Del. Ch. May 7, 2008)

(“Contractual language defines the scope, structure, and personality of limited liability

companies.”). Here, the parties to the LLC Agreements agreed in Section 2.12 that AllianzGI,

when “discharg[ing] its duties” as Investment Manager, would be required to meet specific

standards of care—namely, the Contractual ERISA Standard of Care or the Contractual Prudence

Standard of Care (depending on whether or not the ERISA 25% Threshold was met) and

“extended” these obligations to both ERISA and non-ERISA investors. (See Part B.1, supra.)

Because Section 2.12 comprehensively governs AllianzGI’s “discharge” of its duty to manage the

Funds’ assets, Plaintiffs’ tort claims covering the very same subject matter are barred as a matter




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of law. (See Part IV, infra.)

       Even though ERISA and Section 2.12 of the LLC Agreements (or substantially similar

contractual provisions in certain Side Letters) are the only sources of AllianzGI’s duties to

Plaintiffs in connection with AllianzGI’s management of the Funds’ assets, Plaintiffs (as identified

in the Plaintiff Keys below) impermissibly (i) assert common law claims that are preempted under

ERISA (see Part II, infra); (ii) assert contract and implied covenant claims that have no basis in

law or the governing agreements (see Part III, infra); (iii) assert duplicative negligence claims that

are barred as a matter of law (see Part IV.A., infra); (iv) assert breaches of fiduciary duty that are

duplicative, that were not owed to Plaintiffs, or that are irrelevant to AllianzGI’s management of

the Funds’ assets (see Part IV.B., infra); and/or (v) assert breaches of the duty of loyalty and

ERISA prohibited transactions unsupported by factual allegations and based on an implausible

theory with no legal basis (see Part V, infra). The Court should dismiss all of these claims.

II.    ERISA EXPRESSLY PREEMPTS ERISA PLAINTIFFS’ COMMON LAW
       CLAIMS.

               Plaintiff Key:      BCBS; CPPT; IBEW; NEHC; UFCW19

       Certain Plaintiffs allege that the ERISA 25% Threshold was met in February and


19
        TMRT and BLYR assert ERISA claims (see TMRT/BLYR SAC ¶¶ 158-70), but do not
allege when or whether the ERISA 25% Threshold was met, which alone is grounds for dismissal
of the ERISA claims. See In re Bank of Am. Corp. Sec., Derivative, & Emp. Ret. Income Sec. Act
(ERISA) Litig., 756 F. Supp. 2d 330, 348 (S.D.N.Y. 2010) (Castel, J.) (dismissing ERISA claims
where complaint lacked “factual allegations . . . to add support to the conclusory assertion that
[defendant] was a fiduciary with respect to the management of the Plan’s assets”). Plaintiffs CLPF
and CTWW allege that the ERISA 25% Threshold was met when they initially invested in 2014,
not when their claims allegedly arose in 2020, and plead their common law claims “in the
alternative” to their ERISA claims. (See CLPF Compl. ¶¶ 158, 171, 187, 201; CTWW Compl.
¶¶ 162, 175, 192.) Because ERISA preemption cannot be resolved on a motion to dismiss without
allegations to support the application of the statute, these four Plaintiffs are not included in this
Part II for that reason only. See Kuhbier v. McCartney, Verrino & Rosenberry Vested Producer
Plan, 95 F. Supp. 3d 402, 418-19 (S.D.N.Y. 2015) (Karas, J.) (denying motion to dismiss claims
where application of ERISA unclear).



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March 2020 when their claims arose, and that AllianzGI, by operation of law, acted as an ERISA

fiduciary in managing the Funds’ assets during that time.20 As a result, even if those Plaintiffs’

common law claims were not barred for the reasons shown in Parts III and IV, infra, their claims

are preempted by federal law.

       ERISA “provide[s] a uniform regulatory regime over employee benefit plans.” Aetna

Health Inc. v. Davila, 542 U.S. 200, 208 (2004). To achieve this policy goal, ERISA preempts

“any and all State laws insofar as they . . . relate to any employee benefit plan” covered by ERISA.

29 U.S.C. § 1144(a) (emphasis added). As the Supreme Court held in Davila, “any state-law cause

of action that duplicates, supplements, or supplants the ERISA civil enforcement remedy,” 542

U.S. at 209, necessarily “relate[s] to” an employee benefit plan, § 1144(a), and courts have thus

“‘consistently held that ERISA preempts state common law.’” Berg v. Empire Blue Cross & Blue

Shield, 105 F. Supp. 2d 121, 130 (E.D.N.Y. 2000) (Hurley, J.) (citation omitted). 21

       State law claims that “stem[] from” or “touch on” the acts of an ERISA fiduciary are subject

to preemption. United Teamster Fund v. MagnaCare Admin. Servs., LLC, 39 F. Supp. 3d 461,

473 & n.10 (S.D.N.Y. 2014) (Pauley III, J.). Because all of Plaintiffs’ common law claims

necessarily “stem from” AllianzGI’s alleged conduct as an ERISA fiduciary, and require this Court



20
        See BCBS Compl. ¶ 144 (alleging that Funds’ assets “were ‘plan assets’ under ERISA”
(i.e., met the ERISA 25% Threshold) at “all relevant times”); CPPT Compl. ¶ 120 (alleging that
“[g]reater than 25%” of Funds’ assets were “held by benefit plan investors” and were
“therefore . . . plan assets subject to ERISA”); FFLD/NEHC SAC ¶ 138 (alleging “benefit plan
investors held more than 25%” of Fund’s “equity interests” during “January, February, and March
2020”); IBEW FAC ¶¶ 29, 141 (same); UFCW Compl. ¶ 132 (same).
21
        See also, e.g., Chau v. Hartford Life Ins. Co., 167 F. Supp. 3d 564, 571 (S.D.N.Y. 2016)
(Woods, J.) (ERISA preemption “extends to state common-law contract and tort actions”); Antell
v. United Healthcare Ins. Co. of N.Y., 2012 WL 13042822, at *1 (S.D.N.Y. Mar. 16, 2012)
(Sullivan, J.) (“[A]ll common law causes of action that ‘relate to’ an employee benefit plan fall
under ERISA’s express preemption clause” (citation omitted)).



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to evaluate that conduct against a standard of care, which is the exclusive province of ERISA, their

common law claims are preempted.22 See LoPresti v. Terwilliger, 126 F.3d 34, 41 (2d Cir. 1997)

(finding ERISA preempted common law conversion claim because claim was “nothing more than

an alternative theory for recovery for conduct actionable under ERISA” (quotations and citation

omitted)); Toussaint v. JJ Weiser & Co., 2005 WL 356834, at *14 (S.D.N.Y. Feb. 13, 2005)

(Mukasey, J.) (finding breach of fiduciary duty claims “within the scope” of ERISA’s preemptive

reach); Pedre Co. v. Robins, 901 F. Supp. 660, 665 (S.D.N.Y. 1995) (Sotomayor, J.) (“Breach of

fiduciary duty is necessarily an ERISA claim.”). Thus, courts routinely hold that common law

claims against investment managers acting in an ERISA fiduciary capacity are preempted. See,

e.g., N.J. Carpenters Annuity Fund v. Meridian Diversified Fund Mgmt., LLC, 2011 WL 1842772,

at *5 (S.D.N.Y. May 11, 2011) (Griesa, J.) (breach of fiduciary duty claims against hedge fund

manager for allegedly failing to monitor fund’s investments preempted where “complaint ar[ose]”

from management of “ERISA plan assets” (citing Davila, 542 U.S. at 213-14)). The Court should

do the same here.

III.   PLAINTIFFS ALLEGE EXPRESS OR IMPLIED CONTRACTUAL
       OBLIGATIONS THAT DO NOT EXIST OR ARE TOO SPECULATIVE TO
       STATE A CLAIM.

       A.      Plaintiffs’ Contract Claims Impermissibly Rely on Out-of-Context
               Statements That Do Not Constitute Contractual Obligations.



22
        Tellingly, Plaintiffs explicitly invoke ERISA fiduciary standards in claiming that
AllianzGI breached its duties. See UFCW Compl. ¶ 122 (alleging breach of fiduciary duty based
on alleged failure to manage Funds’ assets “with the care, skill, prudence and diligence under the
circumstances then prevailing that a prudent person acting in a like capacity . . . would use”); CPPT
Compl. ¶ 106 (same); FFLD/NEHC SAC ¶¶ 111, 123, 129 (same for breach of fiduciary duty
breach of contract, and breach of implied covenant claims); IBEW FAC ¶¶ 106, 122, 127 (same
for negligence, breach of implied covenant, and breach of fiduciary duty claims). Indeed, BCBS’s
sole common law claim for breach of contract is virtually identical to its ERISA breach of fiduciary
duty claim. (Compare BCBS Compl. ¶ 151(a)-(j), with ¶ 190(a)-(j).)



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               Plaintiff Key:       All Actions except BCBS23

       To become a member of a Fund, each Plaintiff entered into a Subscription Agreement

“upon the terms and conditions” in that Agreement, “in the [PPM],” “and in the [LLC]

Agreement.” (Subscription Agreement at 7 (emphasis added).)24 But rather than point to any

“term or condition” in those documents (i.e., statements amounting to rights or obligations),

Plaintiffs rely on out-of-context statements in the PPMs that do not describe contractual obligations

at all, and thus Plaintiffs fail to state a claim for breach of contract. 25 Partner Reinsurance Co. v.

RPM Mortg., Inc., 2019 WL 3802235, at *5 (S.D.N.Y. Aug. 13, 2019) (Engelmayer, J.)

(dismissing breach of contract claims and holding that where “the allegations of a pleading ‘are

contradicted by documents made a part thereof, the document controls and the court need not

accept as true the allegations of the [pleading]’” (quoting Sazerac Co. v. Falk, 861 F. Supp. 253,

257 (S.D.N.Y. 1994) (Sweet, J.)).

       First, Plaintiffs variously allege that AllianzGI was “obligated” to take specific actions and

adhere to the investment strategy described in the PPMs. For example, FFLD/NEHC and



23
        Parts III, IV and V, infra, are moot as to BCBS; CPPT; IBEW; NEHC; and UFCW in the
event this Court finds their common law claims preempted under ERISA. (See Part II, supra.)
24
        The LLC and Subscription Agreements are governed by Delaware law. (See Ex. 1 at 30
(§ 8.05); Ex. 3 at 19 (§ VI.).)
25
        To the extent not held preempted, AllianzGI does not seek to dismiss BCBS’s breach of
contract claim insofar as it is based on the alleged breach of Section 2.12 or of a “Contractual
Fiduciary Standard of Care” in an Investment Management Agreement with BCBS that is
substantially similar to the Contractual Standards of Care in Section 2.12. (See BCBS Compl.
¶¶ 187-88; Ex. 47 at 4-5; App. C.) AllianzGI also does not seek to dismiss similar breach of
contract claims in TMRT/BLYR, FFLD/NEHC or MTA to the extent they are based on the
Contractual Prudence Standard in Section 2.12 or a substantially similar provision in a Side Letter.
(See TMRT/BLYR SAC ¶ 142; FFLD/NEHC SAC ¶ 123; MTA FAC Count III; App. C).
BCBS’s, TMRT/BLYR’s, FFLD/NEHC’s and MTA’s remaining breach of contract claims fail for
the reasons in Parts III.A., III.B., and/or III.C, as applicable.



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TMRT/BLYR both allege that AllianzGI was “required . . . to invest” each Fund’s assets

“pursuant to” or “in accordance with” the “terms of the PPMs.” (FFLD/NEHC SAC ¶ 121;

TMRT/BLYR SAC ¶ 138 (emphasis added).)                But in making this claim, Plaintiffs ignore

disclosures in the PPMs—repeated three times—that “[t]he Managing Member may . . . formulate

new approaches to carry out the Fund’s investment objective[, and] [t]he Fund may change any of

its investment strategies without prior consent of, or notice to, the [Non-Managing] Members.”

(PPM at 2, 19-20, 22 (emphasis added).)26

       Other Plaintiffs similarly allege that AllianzGI was “obligated . . . to engage in a strategy

to ‘consist of investments in puts and calls on equity indices’” (UFCW Compl. ¶ 110 (emphasis

added); see MTA FAC ¶ 122; IBEW Compl. ¶ 114), or that “AllianzGI was obligated to ‘optimize

spread positions and profit zones’” (ATRS Compl. ¶ 152 (emphasis added); see CLPF Compl.

¶ 203; CTWW Compl ¶ 208; CMERS Compl. ¶ 178; Lehigh FAC ¶ 279; UFCW Compl. ¶ 110).

These allegations ignore AllianzGI’s discretion to “formulate new approaches” to managing the

Funds’ assets. (PPM at 2, 19, 22.) Even worse, the Complaints distort the PPMs, which state only

that “[AllianzGI] seeks to optimize spread positions and profit zones,” and that the “alpha

component” of the Funds’ investment strategy “will initially consist of investments in puts and

calls on equity indices.” (PPM at 1, 19 (emphasis added).)

       Plaintiffs cannot state a breach of contract claim for failure to follow a generalized

description of the investment strategy in the PPMs when AllianzGI had broad discretion to change


26
        Four Plaintiffs (ATRS, CMERS, MTA, and UFCW) contending that AllianzGI was
somehow obligated to follow a specific investment strategy also claim that AllianzGI breached
provisions in Side Letter Agreements requiring “prompt notice of any fundamental change in
investment strategy,” thus conceding that AllianzGI was empowered to make such changes.
(ATRS Compl. ¶¶ 153, 155 (emphasis added); see CMERS Compl. ¶¶ 181, 183; MTA FAC ¶ 124;
UFCW Compl. ¶ 112.) In any event, these Plaintiffs’ claims based on alleged breach of such
notice provisions are speculative and fail as a matter of law. (See Part III.B., infra.)



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the Funds’ strategy. As in Maounis, where Judge Batts dismissed an LLC member’s contract

claims against a hedge fund manager based on alleged failure to adhere to a particular investment

strategy described in the governing documents, “no contractual obligation . . . sustain[s] Plaintiff’s

claims” and the PPM “put Plaintiff on due notice that [managing member] had broad discretion

and no formal requirements with regard to its investment . . . strategies.” 749 F. Supp. 2d at 128-

29 n.7 (applying New York law) (emphasis added); Zazzali v. Alexander Partners, LLC, 2013 WL

5416871, at *12 (D. Del. Sept. 25, 2013) (dismissing breach of contract claims against securities

brokers where plaintiff “failed to identify an actual contractual obligation . . . to which the

defendants were subject”).

       Second, Plaintiffs who mischaracterize as an “obligation” the statement in the PPMs that

“[AllianzGI] seeks to optimize spread positions and profit zones” (PPM at 1, 19 (emphasis

added))27 not only mangle the language of the PPM and ignore AllianzGI’s discretion to change

strategies, but further disregard that this is a forward-looking statement, on which Plaintiffs were

expressly warned “not [to] place undue reliance.” (Id. at iv (stating that “forward-looking

statements” in PPM are identified “by words like ‘expect’, ‘intend’ and by ‘similar expressions’”

and warning that such statements are not “representation[s]” that “the results [] will actually be

achieved”) (emphasis added).) Plaintiffs cannot transform a statement about what the Funds “seek

to” achieve into a contractual guarantee. See Shemian v. Rsch. In Motion Ltd., 2013 WL 1285779,

at *24 (S.D.N.Y. Mar. 29, 2013) (Sullivan, J.) (finding forward-looking statements inactionable

under “bespeaks caution” doctrine where “investors were provided with substantial warnings” that

plans “could be impacted by unforeseen circumstances”), aff’d, 570 F. App’x 32 (2d Cir. 2014);



27
       See ATRS Compl. ¶ 152; CLPF Compl. ¶ 203; CTWW Compl ¶ 208; CMERS Compl.
¶ 178; UFCW Compl. ¶ 110; Lehigh FAC ¶ 279.



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City of Omaha Police & Fire Ret. Sys. v. Evoqua Water Techs. Corp., 450 F. Supp. 3d 379, 396-

97 (S.D.N.Y. 2020) (Nathan, J.) (finding statements “refer[ring] to expectations and predictions

about the future” that were “accompanied by sufficient cautionary language” are “not actionable”

(citation omitted)); Great Lakes Chem. Corp. v. Pharmacia Corp., 788 A.2d 544, 556 (Del. Ch.

2001) (finding fraud claims “explicitly precluded” by disclaimers in contract).

       Third, certain Plaintiffs allege that AllianzGI was obligated to “develop the appropriate

systems and procedures to control operational risk” (IBEW FAC ¶ 115; MTA FAC ¶ 125; UFCW

Compl. ¶ 113 (emphasis added)), while ignoring that the PPMs defined “operational risk” as

“arising from,” for example, “mistakes made in the confirmation or settlement of transactions,”

“transactions not being properly booked,” or “mistakes in the development or applications of

models” or “other similar disruptions in the [Funds’] operations.” (PPM at 34 (emphasis added).)

Plaintiffs do not contend that this kind of operational “mistake” caused their alleged investment

losses. See Great Lakes Chem. Corp., 788 A.2d at 549 (dismissing breach of contract claim where

“[n]othing in the complaint links the alleged breach and the claimed injury”); Hudson’s Bay Co.

Luxembourg, S.A.R.L. v. JZ LLC, 2011 WL 3082339, at *3 (Del. Super. Ct. July 26, 2011)

(dismissing claim for breach of representation in purchase agreement as “a non-sequitur because

the injury does not logically flow from the breach” (quotation and citation omitted)).

       Finally, CPPT alleges that AllianzGI “represented” that it would “do all acts for the

preservation, protection, improvement, and enhancement in value of all assets,” and that “[f]ailing

to implement risk management procedures . . . would be a breach of that obligation.” (CCPT FAC

¶ 113 (emphasis added).) In fact, the LLC Agreement provides that AllianzGI “shall have the

power” (i.e., the authority, not the obligation, and certainly not a “representation”) to “do all acts

for the preservation” of the Funds’ assets. (LLC Agreement § 2.02(s) (emphasis added).) The




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grant of a power or right under a contract to take future unspecified actions does not provide a

basis for liability. See Cooper v. Gottlieb, 2000 WL 1277593, at *6 (S.D.N.Y. Sept. 8, 2000)

(Koeltl, J.) (granting summary judgment to defendants on plaintiffs’ breach of contract claims

under both New York and Delaware law where defendants failed to vote shares on certain issues

because “[t]he clear terms of the [v]oting [a]greement did not require the defendants to vote the

shares on all issues, but rather gave them the authority and power to do so”), aff’d, 12 F. App’x 28

(2d Cir. 2001).

       B.         Plaintiffs Fail to Allege a Breach of Contract Based on Failure to Notify of a
                  Supposed Change in Investment Strategy.

                  Plaintiff Key:    ATRS; BCBS; CMERS; MTA; UFCW

       In their Complaints, certain Plaintiffs allege that AllianzGI breached obligations in Side

Letters “to provide [Plaintiff] with prompt notice of any fundamental change in the investment

strategy . . . from that as described in the [Funds’] governing documents.” (See ATRS Compl.

¶¶ 153, 155). 28 Even assuming arguendo that some kind of a “change” in strategy occurred,

Plaintiffs do not allege, as required to state a breach of contract claim, when, in retrospect, such

notice allegedly should have been given, or how a supposed failure to give notice caused their

claimed damages. See Moore Bus. Forms, Inc. v. Cordant Holdings Corp., 1995 WL 662685, at

*7 (Del. Ch. Nov. 2, 1995) (“a complaint stating a claim for breach of contract must identify . . .

resulting damage to the plaintiff”)); Ark. Dev. Fin. Auth. v. Wiley, 2020 Ark. 395, at 5, 611 S.W.3d

493, 498 (2020) (breach of contract claim “must assert . . . damages resulting to plaintiff from the




28
       See CMERS Compl. ¶¶ 181,183 (same); MTA FAC ¶ 124 (alleging AllianzGI failed to
“inform [Plaintiffs] promptly in writing of . . . any material change in the investment strategies
disclosed in the [Fund] Documents”); UCFW Compl. ¶ 112 (same as MTA FAC).



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breach”).29

       In failing to plead when AllianzGI should have given “notice,” Plaintiffs ignore the

limitations on their right to withdraw capital from the Funds. (See PPM at 7 (withdrawals generally

permitted as of end “of each calendar month” if request received by “fifth . . . [b]usiness [d]ay” of

the month, with requests after fifth day deferred to end of following month).) Plaintiffs do not

plead when or even whether they would or could have submitted a withdrawal request during the

chaotic market events of February and March 2020 that would have reduced their investment

losses. Plaintiffs also ignore the warnings in the PPM that Plaintiffs’ interests in the Funds would

be “illiquid”; that Plaintiffs “may not be able to liquidate their investment in the event of an

emergency or for any other reason”; and that withdrawals could be completely suspended in

“extraordinary circumstances,” including where the “market for . . . derivative instruments . . . are

otherwise sufficiently disrupted.” (PPM at 32, 44-45.)

       Without any allegations to tie AllianzGI’s alleged failure to notify Plaintiffs of a supposed

strategy change to any claimed losses, Plaintiffs’ breach of contract claims are speculative and

must be dismissed. See Palatkevich v. Choupak, 152 F. Supp. 3d 201, 219 (S.D.N.Y. 2016)

(McMahon, J.) (granting summary judgement to defendant on breach of contract claim under

Delaware law because plaintiff “suffered no damage from the lack of notice” where plaintiff could

not have affected outcome “even if he received prior notice”); Dan B. Dobbs, LAW OF REMEDIES

§ 12.4(2) (2d ed. 1993) (plaintiff cannot recover losses “which would have resulted even if the

defendant had not breached”); Kuroda v. SPJS Holdings, L.L.C., 971 A.2d 872, 884 (Del. Ch.



29
        ATRS’s Side Letters are governed by Arkansas law. (See Exs 43 at 12; Ex. 45 at 13.) The
CMERS and UFCW Side Letters are governed by Delaware law. (See id., Ex. 57 at 8; Ex. 109
at 8.) The MTA Side Letters do not include a choice of law provision, and BCBS improperly relies
on the LLC Agreement, governed by Delaware law. (See infra, n. 30.)



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2009) (the “possibility” of “speculative harm is not sufficient to state a claim for breach of

contract”); NanoMech, Inc. v. Suresh, 2013 WL 4805692, at *4-5 (W.D. Ark. Sept. 9, 2013)

(applying Arkansas law and dismissing breach of contract claim where “damages as a result of the

breach” were not alleged), aff’d on other grounds, 777 F.3d 1020 (8th Cir. 2015).30

       C.      Plaintiffs Fail to Identify Any “Gap” in the Parties’ Agreement to Support a
               Claim for Breach of the Implied Covenant of Good Faith and Fair Dealing.

               Plaintiff Key:     FFLD/NEHC; IBEW; Lehigh; MTA; TMRT/BLYR.

       As the Delaware Supreme Court has repeatedly held, the implied covenant of good faith

and fair dealing is a “‘limited and extraordinary legal remedy’” and a “‘cautious enterprise’” that

may be used to “‘imply[] terms in the agreement’” in order to “analyze unanticipated developments

or to fill gaps in the contract’s provisions.’” Oxbow Carbon & Mins. Holdings, Inc. v. Crestview-

Oxbow Acquisition, LLC, 202 A.3d 482, 506-07 (Del. 2019) (quoting Nemec v. Shrader, 991 A.2d

1120, 1125, 1128 (Del. 2010); Dunlap v. State Farm Fire & Cas. Co., 878 A.2d 434, 441 (Del.

2005)). Courts apply this doctrine rarely and only in narrow circumstances where, unlike here, a

plaintiff can show that the parties to an agreement “failed to address an issue, but it is clear what

the parties would have done had they considered the issue.” Marubeni Spar One, LLC v. Williams

Field Servs. - Gulf Coast Co., 2020 WL 64761, at *9 (Del. Ch. Jan. 7, 2020) (emphasis added).

But the implied covenant “’does not apply when the contract addresses the conduct at issue,’” and


30
        BCBS conclusorily alleges that AllianzGI’s obligation “to provide advance notice of any
material adverse amendment to the [LLC] Agreements” (see LLC Agreement § 8.03 (emphasis
added)) somehow also “required advance notice of changes to the . . . investment strategy.”
(BCBS Compl. ¶¶ 193-94). Like other Plaintiffs, BCBS ignores that the Funds could change “any
of [their] investment strategies without prior consent of, or notice to” the non-managing members
(PPM at 2, 19-20; see id. at 30)—which is why certain Plaintiffs separately negotiated for notice
of a “material” or “fundamental” change in investment strategy in Side Letters. “Consistent with
Delaware’s pro-contractarian policy,” BCBS “‘may not come to court to enforce a contractual
right that it did not obtain for itself at the negotiating table.’” MidCap Funding X Tr. v. Graebel
Cos., 2020 WL 2095899, at *10 (Del. Ch. Apr. 30, 2020) (citation omitted).



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instead the contract must be “’truly silent concerning the matter at hand.’” Oxbow, 202 A.3d at

507 (citations omitted). Plaintiffs fail to state a claim for breach of the implied covenant for at

least the following reasons.

       First, as shown above (see Part I, supra), the LLC Agreements comprehensively and

specifically address how AllianzGI agreed to perform its duties as Investment Manager—either in

accordance with the Contractual ERISA Standard of Care or the Contractual Prudence Standard

of Care. Plaintiffs’ claims for breach of the implied covenant concern this very subject matter—

i.e., how AllianzGI was allegedly to perform its duties. (See, e.g., Lehigh FAC ¶¶ 293-94 (alleging

AllianzGI breached implied covenant by making investment decisions “unreasonably and in bad

faith”); FFLD/NEHC SAC ¶ 128 (alleging breach based on “exposing . . . investors to significant

risk” and “abandoning . . . prudent risk controls”); TMRT/BLYR SAC ¶ 148 (same); MTA FAC

¶ 143 (alleging AllianzGI engaged in “arbitrary and unreasonable conduct in direct conflict with

the [investment] strategy”); IBEW Compl. ¶ 122 (same).) In fact, these Plaintiffs assert breaches

of the existing contractual obligations in Section 2.12 of the LLC Agreements, which expressly

prescribes the standards applicable to AllianzGI’s duties as Investment Manager and thus leaves

no “gap” for Plaintiffs’ implied covenant claims to fill. Reklam v. Bellator Sport Worldwide LLC,

2017 WL 5172397, at *6-7 (D. Del. Nov. 8, 2017) (holding that “the implied covenant of good

faith and fair dealing does not apply as a matter of law” to provisions already in contract), report

adopted by 2017 WL 5985562; Kuroda, 971 A.2d at 888-89 (granting motion to dismiss implied

covenant claim where “the express terms of the contract . . . control[led] such a claim”).

       Second, the implied covenant is not a “‘free-floating duty’ of objective fairness” or good

faith, particularly where, as here, the LLC Agreements set the governing standards of care. In re

Encore Energy Partners LP Unitholder Litig., 2012 WL 3792997, at *12 (Del. Ch. Aug. 31, 2012);




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see Campbell v. Plant Health Intermediate, Inc., 2020 WL 3127809, at *4 (S.D.N.Y. June 12,

2020) (Halpern, J.) (“[a] plaintiff cannot rely on ‘general allegations of bad faith conduct’” to state

claim for breach of implied covenant (quoting Kuroda, 971 A.2d at 888)). Plaintiffs’ claims for

breach of the implied covenant impermissibly tack on a “free-floating” good faith duty to

AllianzGI’s obligations as Investment Manager, even though Section 2.12 of the LLC Agreements

sets the standards for AllianzGI’s “discharge [of] its duties.” (LLC Agreement § 2.12.) Because,

when entering into the LLC Agreements, the parties covered this subject matter, Plaintiffs cannot

now invoke, years later, the implied covenant to interpose new or different obligations or standards

on AllianzGI, and their claims should be dismissed.

IV.    PLAINTIFFS’ BREACH OF FIDUCIARY DUTY AND NEGLIGENCE CLAIMS
       ARE BARRED BY THE GOVERNING AGREEMENTS OR OTHERWISE FAIL
       AS A MATTER OF LAW.

       This Court should reject Plaintiffs’ scattershot attempts to plead around Section 2.12 of the

LLC Agreements to try to assert tort claims. As shown below: (i) Plaintiffs’ negligence claims are

impermissibly duplicative of their contract claims; (ii) Plaintiffs’ various theories of fiduciary

liability are equally duplicative or have no application to the conduct alleged in the Complaints;

and (iii) all Plaintiffs’ tort claims are barred by the economic loss doctrine.

       A.      Plaintiffs’ Negligence Claims Are Impermissibly Duplicative of Their
               Contract Claims.

               Plaintiff Key:      All Actions except BCBS

       Under longstanding New York law, where a negligence claim “‘do[es] no more than assert

violations of a duty which is identical to and indivisible from . . . contract obligations,’” the

negligence claim must be dismissed. Metro. W. Asset Mgmt., LLC v. Magnus Funding, Ltd., 2004

WL 1444868, at *9 (S.D.N.Y. June 25, 2004) (Buchwald, J.) (quoting Luxonomy Car, Inc. v.




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Citibank, N.A., 408 N.Y.S.2d 951, 954 (N.Y. App. Div. 2d Dep’t 1978)).31 As Judge Furman held,

“New York law . . . does not recognize a cause of action for the negligent performance of a

contract” and that “to prevail on a negligence claim,” plaintiff “must demonstrate that [d]efendants

breached a duty independent from their obligations under the contract.” Cohen v. Avanade, Inc.,

874 F. Supp. 2d 315, 326 (S.D.N.Y. 2012) (Furman, J.) (citation omitted). Because Plaintiffs

explicitly ground their negligence claims in contractual duties, this Court should dismiss their

duplicative tort claims.

       Specifically, Plaintiffs contradictorily allege that AllianzGI owed “a duty of care” in tort

“arising out of the LLC Agreements, Subscription Agreements” (and, as applicable, “Side Letter

Agreements”). (ATRS Compl. ¶¶ 123-24 (further alleging that AllianzGI owed a duty of care

arising from its “responsib[ility] for the general management of the investment portfolios . . .

under the [LLC] Agreement[s]”) (emphasis added).)32 FFLD/NEHC and TMRT/BLYR similarly

claim that AllianzGI owed a duty of care based on “the privity . . . established by the Subscription

Agreements, PPMs and LLC Agreements.” (FFLD/NEHC SAC ¶ 101 (emphasis added); see

TMRT/BLYR SAC ¶¶ 152-53 (same).) IBEW, MTA and UFCW specifically invoke AllianzGI’s


31
         Because Plaintiffs claim that allegedly tortious conduct—AllianzGI’s supposed
mismanagement of the Funds—took place in New York City where AllianzGI is headquartered,
New York law governs Plaintiffs’ negligence claims. (See, e.g., ATRS Compl. ¶ 38.) AHW Inv.
P’ship v. Citigroup Inc., 980 F. Supp. 2d 510, 524 (S.D.N.Y. 2013) (Stein, J.) (in context of tort
claims, “[w]herever the loss was felt, New York is the jurisdiction with the greatest interest in
litigation . . . regarding conduct based in New York. Accordingly, New York law governs these
claims”), aff’d sub nom. AHW Inv. P’ship, MFS, Inc. v. Citigroup Inc., 661 F. App’x 2 (2d Cir.
2016). New York law likewise governs whether the negligence claims are duplicative of the
breach of contract claims. See G.L.M. Sec. & Sound, Inc. v. LoJack Corp., 2011 WL 4594825, at
*6 (E.D.N.Y. Sept. 30, 2011) (Seybert, J.) (concluding that substantive law applicable to tort claim
governed whether it was duplicative of breach of contract claim governed by other state’s law), on
recons. in part, 2012 WL 4512499 (E.D.N.Y. Sept. 28, 2012).
32
       See CLPF Compl. ¶¶ 188-89 (same); CPPT FAC ¶¶ 98-99 (same); CMERS Compl ¶¶ 145-
146 (same); CTWW Compl. ¶¶ 193-94 (same).



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“agree[ment] to ‘exercise the care, skill, prudence, and diligence . . . that a prudent man acting in

a like capacity and familiar with such matters would use’” in similar circumstances—which

precisely tracks the Contractual Prudence Standard provided for in Section 2.12. (IBEW FAC

¶ 107 (emphasis added); see MTA FAC ¶ 115 (same); UFCW Compl. ¶ 103 (same); see also

Lehigh FAC ¶ 271 (alleging “AllianzGI failed to act as a reasonably prudent investment manager

by mismanaging the Funds”).)33

       The negligence claims rest on purported tort duties—in short, to manage the Funds’ assets

prudently or reasonably—that are “indivisible” from the Contractual Standards of Care imposed

on AllianzGI in Section 2.12 of the LLC Agreements. Because it is “well-established” that a tort

claim must be based on a “legal duty independent of the contract itself,” and because Plaintiffs fail

to identify any such duty (and indeed, expressly rely on contractual duties), their negligence claims

must be dismissed. Clark-Fitzpatrick, Inc. v. Long Island R.R. Co., 70 N.Y.2d 382, 389 (1987).

       B.      Plaintiffs Fail to Identify Any Claim for Breach of Fiduciary Duty That Is
               Independent of Section 2.12 of the LLC Agreements.

               Plaintiff Key:     All Actions except BCBS

       It is a “‘well-settled principle’” of Delaware law “‘that where a dispute arises from

obligations that are expressly addressed by contract, that dispute will be treated as a breach of

contract claim,’ and ‘any fiduciary claims arising out of the same facts that underlie the contract

obligations would be foreclosed as superfluous.’” In re WeWork Litig., 2020 WL 6375438, at *11

(Del. Ch. Oct. 30, 2020) (quoting Nemec, 991 A.2d at 1129); see id. (“[T]o allow a fiduciary duty

claim to coexist in parallel with a contractual claim, would undermine the primacy of contract law


33
         Lehigh also asserts a negligence claim based on AllianzGI’s purported duties as “Managing
Member” of the Fund and as an “investment advisor,” and asserts claims for breach of fiduciary
duty on nearly identical grounds. (Compare Lehigh FAC ¶¶ 257-58 with ¶¶ 268-69.) Those claims
fail for the reasons discussed in Parts IV.B.1 and B.3, infra.



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over fiduciary law in matters involving . . . contractual rights and obligations.” (alteration in

original) (quotations omitted)). Thus, “a plaintiff bringing a claim based entirely upon a breach of

the terms of a contract generally must sue in contract” to “prevent[] gratuitous ‘bootstrapping’ of

contract claims into tort claims.” Del. State Univ. Student Hous. Found. v. Ambling Mgmt. Co.,

556 F. Supp. 2d 367, 377 (D. Del. 2008) (quotations and citation omitted); see also MHS Cap.

LLC v. Goggin, 2018 WL 2149718, at *8 (Del. Ch. May 10, 2018) (where breach of fiduciary duty

claim “arises from obligations that are expressly addressed by contract, that dispute will be treated

as a breach of contract claim” (quoting Nemec, 991 A.2d at 1129)).

       Delaware law “recognize[s] a narrow exception” to this rule such that breach of contract

and breach of fiduciary duty claims may arise from the same “nucleus of operative facts” only

“[w]here there is an independent basis for the fiduciary duty claims apart from the contractual

claims.” In re WeWork, 2020 WL 6375438, at *12 (quotations omitted). Because (i) the parties

expressly agreed to replace Delaware “default” fiduciary duties with the duties in the LLC

Agreements, and (ii) Plaintiffs’ breach of fiduciary duty claims are otherwise duplicative of

Section 2.12, or are based on purported fiduciary duties having no application here, the Court

should dismiss Plaintiffs’ fiduciary duty claims.

               1.      The Parties Expressly Agreed That Section 2.12 Replaced “Default”
                       Fiduciary Duties Under Delaware Law.

               Plaintiff Key:     All Actions except BCBS

       In the Complaints, Plaintiffs recite that AllianzGI owed them fiduciary duties “as

Managing Member” or “Investment Manager” of the Funds. (See, e.g., ATRS Compl. ¶ 136;

CLPF Compl. ¶ 172; CMERS Compl. ¶ 159.)34 This claimed theory of liability ignores that by


34
       See also CPPT FAC ¶ 106; CTWW Compl. ¶ 178; FFLD/NEHC SAC ¶ 109; IBEW FAC
¶ 127; Lehigh FAC ¶ 257; MTA FAC ¶ 148; TMRT/BLYR SAC ¶ 128; UFCW Compl. ¶ 118.



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defining Contractual Standards of Care in Section 2.12 for the management of the Funds’ assets,

the parties displaced any “default” fiduciary duties owed under governing Delaware law.35

       Specifically, in keeping with the “maximum . . . freedom of contract” allowed under the

LLCA (6 Del. Code §18-1101(b)), the parties to an LLC agreement may modify and even

“eliminate[]” an LLC managing member’s common law fiduciary duties. Id. §§ 18-1101(c),

1104.36 The LLC Agreements, in language that tracks the LLCA, expressly provide that any

provisions “modify[ing], restrict[ing] or eliminat[ing] the duties (including fiduciary duties) . . . of

any person . . . with respect to matters expressly provided for in this Agreement are agreed by the

parties hereto to replace such other duties and liabilities of such person.” (LLC Agreement § 2.07

(emphasis added).)

       In Goggin, as here, the parties set out a contractual standard of care whereby the LLC

manager agreed to “discharge his . . . duties in good faith, with the care an ordinarily prudent

person in a like position would exercise under similar circumstances, and in a manner he

reasonably believes to be in the best interests of the [LLC].” 2018 WL 2149718, at *3. The court

dismissed fiduciary duty claims, holding that because the manager’s obligations were “defined

in . . . the [LLC] agreement,” which set a specific standard of care, “[a]ll of the conduct that could

conceivably form the basis of a fiduciary duty claim . . . is clearly covered by the duties spelled



35
        To the extent AllianzGI’s purported fiduciary duties arise under Delaware law from its role
as a managing member of or investment advisor to the Funds, Delaware law also governs whether
that claim is duplicative of contract claims. See Kagan v. HMC-New York, Inc., 939 N.Y.S.2d
384, 387 (N.Y. App. Div. 1st Dep’t 2012) (holding that trial court “reli[ed] correctly on Delaware
law” in dismissing a breach of fiduciary duty claim as duplicative of a breach of contract arising
from Delaware LLC agreement).
36
        The LLCA’s only limitation is that parties may not contract out of the “implied contractual
covenant of good faith and fair dealing.” 6 Del. Code § 18-1101(c). Plaintiffs’ claims for breach
of the implied covenant equally fail for the reasons shown above. (See Part III.C., supra.)



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out in the [LLC] agreement.” Id. at *8. As in Goggin, the parties to the LLC Agreements defined

how AllianzGI was to “discharge its duties” in Section 2.12, leaving no basis for an extra-

contractual breach of fiduciary duty claim.

       Similarly, in Kagan, applying Delaware law, the Appellate Division expressly found that

an LLC agreement that limited liability of managers who “‘act in good faith and in the best interest

of the Company’” sufficed to “eliminat[e] the traditional fiduciary duties imposed under

Delaware law” and “impose[d] only [those] specific limited contractual obligations on the

managers.”37 939 N.Y.S.2d at 388 (emphasis added). The court held that allowing those defunct

fiduciary duties to be “resurrect[ed] . . . would simply and impermissibly allow the plaintiff to

plead his breach of contract claims under a different guise.” Id.

       Because, as in Goggin and Kagan, Section 2.12 of the LLC Agreements “modif[ied]”

common law fiduciary duties and because the parties expressly agreed that such duties were

“replaced” by the terms of the contract (LLC Agreement § 2.07), Plaintiffs’ claims based on breach

of default fiduciary duties under Delaware law should be dismissed.

               2.      Plaintiffs Assert Breach of Fiduciary Duty Claims That Are Expressly
                       Duplicative of Section 2.12 of the LLC Agreements

               Plaintiff Key:     ATRS; CLPF; CMERS; CPPT; CTWW; FFLD/NEHC; IBEW;
                                  MTA; TMRT/BLYR; UFCW

       Under Delaware law, “[t]o determine whether there is an independent basis for fiduciary

claims arising from the same general events on which a breach of contract claim is based, the Court



37
        Certain Plaintiffs concede that the LLC Agreements “modified” AllianzGI’s default
fiduciary duties, while ignoring that, under Delaware law and Section 2.07, those “modifications”
replaced such duties. (See, e.g., MTA FAC ¶¶ 149-50 (acknowledging that “[t]he scope of
[AllianzGI’s fiduciary duty as Managing Member] was further modified by the [] Fund
Agreements” and describing the Contractual Standards of Care from Section 2.12); IBEW FAC
¶¶ 128-29 (same).)



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inquires whether the fiduciary duty claims ‘depend on additional facts as well, are broader in scope,

and involve different considerations in terms of a potential remedy.’” Finom Mgmt. GmbH v.

Celerion Holdco, LLC, 2019 WL 4451980, at *5 (D. Del. Sept. 17, 2019) (quotations and citation

omitted).

       Rather than assert claims that are “broader in scope,” Plaintiffs explicitly rest their breach

of fiduciary duty claims on AllianzGI’s contractual duties. Indeed, echoing the Contractual

Prudence Standard, Plaintiffs allege that “AllianzGI had an obligation to carry out its fiduciary

duties with respect to the Alpha Funds with the care, skill, prudence, and diligence under the

circumstances” as a prudent person “in a like capacity” and familiar with options trading “would

use in a similar situation.” (ATRS Compl. ¶ 139; CLPF Compl. ¶ 176; CMERS Compl. ¶ 164;

CTWW ¶ 176; UFCW Compl. ¶ 122 (referencing “Contractual Fiduciary Standard of Care”);

MTA FAC ¶¶ 149-50 (citing expressly to Contractual Standards of Care); IBEW FAC ¶¶ 128-29

(same).38 The Court should dismiss these plainly duplicative claims. Finom, 2019 WL 4451980,

at *5 (dismissing breach of fiduciary duty claims that were “essentially duplicative” of contract

claims and “predicated on” the alleged failure to meet contractual obligations); Kagan, 939

N.Y.S.2d at 388 (“Since the fiduciary claims are substantially identical to the breach of contract

claims they were properly dismissed.” (citing Nemec, 991 A.2d at 1129)).

               3.      Plaintiffs Disclaimed That AllianzGI Owed Fiduciary Duties as an
                       Investment Advisor.

               Plaintiff Key:      CLPF; CMERS; CTWW; Lehigh


38
       See also CPPT FAC ¶ 106 (alleging duty “to act with the requisite level of care of a skilled
investment manager”); FFLD/NEHC SAC ¶ 106 (alleging duty “to exercise the care, loyalty, skill
and judgment that a reasonably prudent investment manager would exercise in a similar position,
and under similar circumstances”); TMRT/BLYR ¶ 130 (alleging duty to use “care, skill,
prudence, and diligence under the circumstances . . . that a prudent person acting in a like capacity,
and with [similar] experience . . .would use in a similar situation”).



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       In their Complaints, Plaintiffs conclusorily assert that as “an investment adviser registered

with the SEC,” AllianzGI owed “professional duties of care” under common law “irrespective of

any contractual duties” in connection with “performing advisory services.” (Lehigh FAC ¶ 269;

see also CLPF Compl. ¶ 172; CMERS Compl. ¶ 159; CTWW Compl. ¶ 178.)39 But Plaintiffs

allege no facts showing that AllianzGI was “performing advisory services” for the Plaintiffs. To

the contrary, Plaintiffs expressly represented in the Subscription Agreements that they were not

relying on AllianzGI for any investment advice.

       The mere fact of AllianzGI’s “registration” as an investment adviser is of no moment

absent allegations that AllianzGI was providing investment advice to Plaintiffs. DeBlasio v.

Merrill Lynch & Co., Inc., 2009 WL 2242605, at *28-30 (S.D.N.Y. July 27, 2009) (Sullivan, J.)

(dismissing claims for breach of fiduciary duty, finding no duty established where plaintiffs

offered “conclusory assertion” that defendants “held themselves out as financial advisors” but did

not allege that plaintiffs “sought [] investment advice”) (quotations omitted); Zhu v. HSBC Bank

USA, 2019 WL 6998782, at *4 (C.D. Cal. July 24, 2019) (dismissing claims where “Plaintiffs fail

to allege facts to establish that [Defendants] acted as an investment adviser” and thus to “establish

a fiduciary duty on [this] theory”). Indeed, AllianzGI’s registration as an investment adviser is

required in order to act as an investment manager under ERISA. See 29 U.S.C. § 1002 (“[t]he

term ‘investment manager’ means any fiduciary . . . (A) who has the power to manage, acquire, or

dispose of any asset of a plan; (B) who [] is registered as an investment adviser under the


39
        Because this theory of fiduciary duty is unrelated to the internal affairs of the Funds under
Delaware law and concerns a supposed “advisory” relationship between AllianzGI and Plaintiffs
(which did not exist), New York law applies to these common law breach of fiduciary duty claims,
as Plaintiffs allege the conduct underlying the Complaints took place in New York. See AHW Inv.
P’ship v. Citigroup Inc., 980 F. Supp. 2d 510, 524 (S.D.N.Y. 2013) (Stein, J.) (as “the jurisdiction
with the greatest interest in litigation . . . regarding conduct based in New York, . . . New York law
governs these claims), aff’d, 661 F. App’x. 2 (2d Cir. 2016).



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Investment Advisers Act of 1940” or is not registered based on inapplicable exemptions in that

Act). In its capacity as Investment Manager, any duties AllianzGI had to “advise” on investments

were owed to the Funds, not to Plaintiffs, as the Side Letters entered into with CLPF, CMERS and

CTWW make clear.40

       Moreover, Plaintiffs do not, and cannot, allege that AllianzGI provided investment advice

to them because each Plaintiff “acknowledge[d]” in the Subscription Agreements “that it ha[d]

made an independent decision to invest in the Fund”; that it “relied solely upon the [PPM], the

[LLC] Agreement and [its own] independent investigations”; and that it was “not relying on . . .

the Managing Member” in evaluating the investment. (Subscription Agreement § II(E) (emphasis

added).) Each Plaintiff further represented that “either independently or . . . with its consultants

and advisors,” it had the “knowledge and experience” to “evaluat[e] the merits and risks” of

investing in the Fund; that it had “sufficient information” to conduct such an evaluation; and that

it had “determined” that the Fund was “a suitable investment.” (Subscription Agreement § II(K).)

Indeed, Plaintiffs represented that, having “evaluated the risks of investing” (presumably, for

some, with the help of their professional consultants), they “under[stood] there are substantial risks

of loss” and that they could “afford a complete loss of the investment.” (Id. § II(K), (L).)

       The ERISA Plaintiffs asserting this theory of fiduciary duty—CLPF, CTWW and IBEW—


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         See Exs. 53 at 3, 55 at 3 (CLPF Structured Alpha 1000 LLC and Structured Alpha 500
LLC Side Letters) (AllianzGI “acknowledg[ing]” that “as a registered investment adviser under
the Investment Advisers Act of 1940,” it “shall be considered . . . an ERISA fiduciary with respect
to the Account Assets” when subject to ERISA (emphasis added)); Exs. 55 at 4-5, 74 at 2, 78 at 2,
81 at 2 (CLPF and CTWW Structured Alpha 500 LLC, Structured Alpha 1000 Plus, and Structured
Alpha U.S. Equity 250 Side Letters) (AllianzGI acknowledging that “as a registered investment
adviser under the Investment Advisers Act of 1940,” it will be a fiduciary “with respect to the
Plan’s assets in the Fund” when subject to ERISA (emphasis added)); Ex. 59 at 9 (CMERS
Structured Alpha U.S. Fixed Income 250 LLC Side Letter) (AllianzGI “acknowledg[ing] that it is
a fiduciary with respect to the Fund under applicable state laws and the Advisers Act”). Lehigh
did not enter into any Side Letter (emphasis added).)



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further specifically represented that, notwithstanding registration as an investment adviser,

AllianzGI did not “render[] investment advice for a fee” that would “serve as a primary basis for

investment decisions . . . based on the particular investment needs of the Plan) . . . .” (Subscription

Agreement Schedule V, Part III(d).) The PPM specifically directed that the ERISA Plaintiffs

“must make the decision to invest in the Fund (without reliance on any advice provided by the

Managing Member).” (PPM at 16 (emphasis added).)

       These representations make clear that AllianzGI never agreed to provide any investment

advice to Plaintiffs at the time of their initial investment, and thus a fortiori, AllianzGI was not

providing investment advice when it shared updates and information about the Funds after

Plaintiffs had already invested. Courts repeatedly reject similar attempts to impose an investment

advisory relationship where none exists. See, e.g., de Kwiatkowski v. Bear, Stearns & Co., 306

F.3d 1293, 1309 (2d Cir. 2002) (affirming that defendant did not “contract to serve in an advisory

capacity [] and thus (undisputedly) was [not] an ‘investment adviser’ as defined by the Investment

Advisers Act of 1940”); Zorbas v. U.S. Tr. Co., 48 F. Supp. 3d 464, 487-88 n.20 (E.D.N.Y. 2014)

(Brodie, J.) (denying plaintiff’s motion for summary judgment on breach of fiduciary duty claim

“based on the premise that [defendant] was acting as a professional investment advisor with respect

to Plaintiff’s investments, and not merely in a management capacity,” where “no evidence”

showed “[defendant] agreed to take on a professional investment advising role”).

               4.      The Limited Power of Attorney Granted to AllianzGI Cannot
                       Support Plaintiffs’ Claims for Breach of Fiduciary Duty.

               Plaintiff Key:      ATRS; CLPF; CTWW; FFLD/NEHC; Lehigh; TMRT/BLYR

       Plaintiffs may not distort the narrow power of attorney granted to AllianzGI under the LLC

Agreements to impose a fiduciary duty over the Funds’ management. In their Complaints,

Plaintiffs claim that AllianzGI’s appointment as Plaintiffs’ “representative and attorney-in-fact



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with respect to the Alpha Funds,” was “a designation that imposes the fiduciary duty of loyalty”

on AllianzGI in connection with its completely separate and much broader mandate as Investment

Manager. (ATRS Compl. ¶ 138; see CLPF Compl. ¶ 174 (same); CTWW Compl. ¶ 179 (same);

TMRT/BLYR SAC ¶ 129 (same); FFLD/NEHC SAC ¶ 110 (alleging further that “based on

AllianzGI’s appointment as . . . attorney-in-fact, [it] owed a fiduciary duty of loyalty and care to

Plaintiffs and the Classes”.) Once again, in selectively quoting from the parties’ agreements,

Plaintiffs ignore the law.

       The full text of Section 8.02 of the LLC Agreements (“Power of Attorney”)—which

Plaintiffs omit entirely from their Complaints—makes clear that AllianzGI’s appointment as

“attorney-in-fact” is a limited power of attorney to “make, execute, sign, acknowledge, swear to

and file” specific documents, such as “a Certificate of Formation of the Company”; “any duly

adopted amendment to this Agreement”; or other documents “necessary or desirable to accomplish

the business” of the Fund. (LLC Agreement § 8.02 (emphasis added).) The Side Letter between

AllianzGI and ATRS (which filed the first Related Action and is the original source of this strained

theory of fiduciary liability) expressly acknowledged that “the powers of attorney granted to the

Managing Member . . . are intended to be ministerial in scope and limited solely to those items

permitted under the relevant grant of authority.” (See Ex. 40 ¶ 24 (emphasis added), cited in ATRS

Compl. ¶ 137.) Six other Plaintiffs subsequently latched onto this theory, but courts consistently

reject attempts to expand the duty of loyalty beyond a limited grant of power of attorney, as this

Court should do here. See Trusa v. Nepo, 2017 WL 1379594, at *6 & n.48 (Del. Ch. Apr. 13,

2017) (dismissing breach of fiduciary duty claim based on “plain language of the agreement,”

where power of attorney clause was “expressly limited”); Steinbeck v. Steinbeck Heritage Found.,

400 F. App’x 572, 575-76 (2d Cir. 2010) (affirming summary judgment dismissing breach of




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fiduciary duty claim because grant of power of attorney did not impose fiduciary obligations where

the “powers of attorney were executed solely to effectuate the authority conferred” under

agreement).

               5.      Side Letters Provide No Support for an Independent Fiduciary Duty
                       Claim.

               Plaintiff Key:     ATRS; CLPF; CMERS; CTWW; UFCW

       The Court should also reject Plaintiffs’ meritless claim that Side Letters with AllianzGI

somehow created extra-contractual duties. Those Side Letters created contractual obligations, not

common law duties and, in fact, the CLPF, CMERS, CTWW and UFCW Side Letters include

obligations that are similar to Section 2.12 of the LLC Agreements, and impose duties on

AllianzGI to manage the Funds’ assets according to an “ERISA Fiduciary Standard of Care” or a

contractual prudence standard similar to Section 2.12. (See CLPF FAC ¶ 173; CMERS Compl.

¶ 161; CTWW Compl. ¶ 177; UFCW Compl. ¶¶ 119-20; Ex. 53 at 4-5; Ex. 59 at 9; Ex. 74 at 2;

Ex. 109 at 4-5.) The ATRS Side Letter merely “acknowledged” that AllianzGI owed “a fiduciary

duty to [ATRS] in connection with [ATRS’s] investment in the Fund.” (Ex. 43 at 10; Ex. 45 at 10.)

As shown above, Section 2.12 of the LLC Agreement specifies the fiduciary obligations that

AllianzGI owed to investors, and its “acknowledgement” in the ATRS Side Letter does nothing to

change the scope of those obligations. (See Parts I; IV.B.1., supra.)

       Thus, the Court should hold that Plaintiffs’ claims for breach of fiduciary duty based on

these Side Letters are impermissibly duplicative because they are grounded “entirely upon a breach

of the terms of a contract” and should be dismissed. Delaware State Univ., 556 F. Supp. 2d at 377.

(See Part IV.B.2., supra.)

               6.      The Safe Harbor Under Section 28(e) of the Securities Exchange Act
                       Is Irrelevant.

               Plaintiff Key:     IBEW; MTA; UFCW


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       Plaintiffs try to claim that AllianzGI owed “fiduciary duties” to Plaintiffs because the PPMs

state—under the headings “Execution of Portfolio Transactions” and “Selection of Brokers-

Dealers and Counterparties”—that “Section 28(e) of the Securities Exchange Act . . . provides a

‘safe harbor’” whereby “soft dollars,” i.e., trading commissions, may be used “to obtain investment

research and brokerage services” but that “[c]onduct outside of the safe harbor . . . is subject to the

traditional standards of fiduciary duty under state and federal law.” (PPM at 42; see IBEW Compl.

¶ 130; MTA Compl. ¶ 151; UFCW Compl. ¶ 121.) This disclosure provides no basis for Plaintiffs’

fiduciary duty claims because it (i) concerns duties owed to the Funds, not Plaintiffs, and (ii) is

irrelevant to the conduct alleged in the Complaints.

       Section 28(e) of the Securities Exchange Act provides a “safe harbor” whereby an asset

manager “shall [not] be deemed” to have “breached a fiduciary duty under State or Federal law”

for agreeing to pay a broker higher trading commissions where the manager “determined in good

faith” that the commission “was reasonable” based on the overall the value of brokerage and

research services received. 15 U.S.C. § 78bb(e). But as Judge Koeltl held in In re Eaton Vance

Mutual Funds Fee Litigation, breach of fiduciary duty claims based on alleged “misuse of . . .

assets to provide . . . soft dollar compensation to brokers. . . is an injury to the . . . Funds that

adversely affects the plaintiffs only indirectly through their status as investors.” 380 F. Supp. 2d

222, 233-34 (S.D.N.Y. 2005) (Koeltl, J.) (emphasis added), aff’d sub nom. Bellikoff Vance Corp.,

481 F.3d 110 (2d Cir. 2007).41 Thus, whatever fiduciary duties might apply to AllianzGI’s use of

the Funds’ assets to compensate brokers beyond the Section 28(e) safe harbor may be enforced



41
        Eaton Vance was decided under Massachusetts law, which, as under Delaware law,
requires that plaintiffs identify a “harm they claim to have suffered . . . from a breach of duty owed
directly to them,” that is not “derivative of a breach of duty owed to the corporation.” Int’l
Brotherhood of Elec. Workers Local No. 129 Benefit Fund v. Tucci, 70 N.E.3d 918, 923 (2017).



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only through a derivative action, but, more pointedly, this narrow disclosure in the PPMs

concerning brokerage commissions manifestly has nothing to do with any duties owed to Plaintiffs

in connection with managing the Funds’ assets. The Court should dismissed claims based on this

flawed theory.42

       C.      The Economic Loss Doctrine Independently Bars Plaintiffs’ Tort Claims.

               Plaintiff Key:     All Plaintiffs except BCBS

       Under New York’s economic loss doctrine, “[a] plaintiff cannot seek damages by bringing

a tort claim when the injury alleged is primarily the result of economic injury for which a breach

of contract claim is available.” Nat’l Credit Union Admin. Bd. v. Deutsche Bank Nat’l Tr. Co.,

410 F. Supp. 3d 662, 687 (S.D.N.Y. 2019) (Stein, J.) (dismissing negligence and breach of

fiduciary duty claims as barred by the economic loss doctrine) (internal quotations and citations

omitted). As this Court has recognized, “[t]he economic-loss rule provides that a contracting party

seeking only a benefit of the bargain recovery may not sue in tort.” BlackRock Allocation Target

Shares: Series S. Portfolio v. Wells Fargo Bank, Nat’l Ass’n, 247 F. Supp. 3d 377, 399 (S.D.N.Y.

2017) (Failla, J.) (internal quotations and citations omitted). The same doctrine applies under

Delaware law. See, e.g., Brasby v. Morris, 2007 WL 949485, at *6-7 (Del. Super. Ct. Mar. 29,

2007) (holding economic loss rule prohibits tort claims “where overlapping claims based in

contract adequately address the injury alleged”).

       Here, “the application of the economic loss doctrine is clear: Plaintiff[s] do[] not seek




42
        When read in context (PPM at 42), the “traditional” standards referenced in the PPM
clearly relate only to the topic addressed by Section 28(e)—general “principles” requiring that
money managers seek “best execution” from brokers, not management of the Funds’ assets
generally. See Comm’n Guidance Regarding Client Comm’n Practices Under Section 28(e) of the
Sec. Exch. Act of 1934, Exchange Act Release No. 34-54165 (July 18, 2006) (“[f]iduciary
principles require money managers to seek the best execution for client trades . . .”).


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damages for injuries to [their] person or property, but for an alleged injury that is quintessentially

economic.” Aretakis v. Caesars Ent., 2018 WL 1069450, at *13 (S.D.N.Y. Feb. 23, 2018) (Failla,

J.). As shown above (see Part IV.A., supra), Plaintiffs seek to recover investment losses, and

assert claims for negligence based on AllianzGI’s alleged breach of duties “arising out of the” the

parties’ agreements. (ATRS Compl. ¶¶ 121, 123-25.) Plaintiffs’ negligence claims—based on the

language of contract and seeking to recover the same monetary damages as their contract claims—

cannot survive under New York or Delaware law.

       The economic loss doctrine similarly bars Plaintiffs’ breach of fiduciary duty claims. See,

e.g., Pac. Life Ins. Co. v. Bank of N.Y. Mellon, 2018 WL 1382105, at *14 (S.D.N.Y. Mar. 16,

2018) (Failla, J.) (“the economic[] loss doctrine does bar Plaintiffs’ claims” for breach of fiduciary

duty where the conduct at issue “was contractually required” (emphasis original)) (internal

quotations and citations omitted); Nat’l Credit Union Admin. Bd. v. U.S. Bank Nat’l Ass’n, 2016

WL 796850, at *11 (S.D.N.Y. Feb. 25, 2016) (Forrest, J.) (dismissing breach of fiduciary duty

claim as “barred by the economic loss doctrine” where “[p]laintiff’s allegations for damages . . .

sound in defendants’ failure to take contractual actions,” such that “plaintiff’s remedy lies in the

enforcement of contract obligations,” aff’d, 898 F.3d 243 (2d Cir. 2018) (internal quotations

omitted); Blackrock Core Bond Portfolio v. U.S. Bank Nat’l Ass’n, 165 F. Supp. 3d 80, 106

(S.D.N.Y. 2016) (Forrest, J.) (claims for “breaches of fiduciary duty and extra-contractual duty”

are “barred by the economic loss doctrine” where “[t]he damages that plaintiffs allege . . . arise

entirely from defendants’ obligations under the [contract]”).

       Thus, even if Plaintiffs could allege that AllianzGI breached an independent tort duty

unrelated to the parties’ contracts (and they cannot (see Parts IV.A. and B., supra)), the Court

should “not ‘allow evasion of the economic loss rule, which presents a second, distinct barrier’ to




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extra-contractual claims stemming from contractual relationships.” Pac. Life Ins. Co., 2018 WL

1382105, at *13-14 (quoting Royal Park Invs. SA/NV v. HSBC Bank USA, Nat’l Ass’n, 109 F.

Supp. 3d 587, 599 (S.D.N.Y. 2015) (Scheindlin, J.)) (dismissing “tort claims that allege damages

that flow from the violation of the governing agreements”).

V.     PLAINTIFFS’ FLAWED THEORY OF SELF-DEALING DOES NOT STATE A
       CLAIM.

               Plaintiff Key: All Plaintiffs

       Plaintiffs assert claims for (i) common law breach of fiduciary duty; (ii) breach of fiduciary

duty under ERISA § 404; and (iii) prohibited transactions under ERISA § 406(b) based on the

same theory—i.e., AllianzGI was compensated only if it generated positive returns for investors

(a fee structure that was fully disclosed to Plaintiffs, all sophisticated investors). Thus, Plaintiffs

speculate that once the Funds incurred losses in February 2020, AllianzGI must have managed the

Funds’ assets in a riskier and self-interested manner in March 2020 in its “desperation to generate

gains and avoid losses” so that it could earn its performance fee. (ATRS Compl. ¶ 104.) As shown

below, this strained theory—based on conclusory allegations that AllianzGI “apparent[ly]” tried

“to increase its fees” or “doubled-down” on risk “to recoup losses”—is implausible and finds no

support in law.43



43
        See ATRS Compl. ¶ 1 (alleging conclusorily that AllianzGI “‘doubled down’ on its
imprudent strategy after incurring losses”); BCBS Compl. ¶¶ 151(f), 179 (speculating that
AllianzGI acted in “an apparent effort” to “maximize its own fees”); CLPF Compl. ¶¶ 165, 181
(alleging AllianzGI “doubl[ed] down” because it “would have been unable to obtain fees”
otherwise); CTWW Compl. ¶¶ 169, 186 (same); CMERS Compl. ¶ 169 (same); CPPT FAC ¶124
(alleging AllianzGI added “undisclosed risks” to “maximize its own fees”); FFLD/NEHC SAC
¶¶ 116, 142(e), 147 (AllianzGI acted out of “self-interest”); TMRT/BLYR SAC ¶¶ 134, 164(c),
169 (same); IBEW FAC ¶¶ 132, 145(e), 149 (same); Lehigh FAC ¶ 263 (alleging AllianzGI sought
to “boost its management fee” in “self-interested” manner); MTA FAC ¶¶ 137(e), 153 (alleging
AllianzGI “sought to maximize its own profits” by putting investments at unreasonable risk);
UFCW Compl. ¶¶ 124, 136(e) (same).



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       A.      Plaintiffs Cannot State Claims for Common Law Breach of Duty of Loyalty
               Because Their Claims Arise Under ERISA or Section 2.12.

               Plaintiff Key:     ATRS, CLPF, CMERS, CTWW, FFLD/NEHC, IBEW, Lehigh,
                                  MTA, TMRT, UFCW

       As shown above, in the LLC Agreements, the fiduciary obligations and standards in

Section 2.12 “replaced” common law fiduciary duties. (See LLC Agreement §§ 2.07, 2.12; Part

IV.B., supra.) Thus, when a Fund was subject to ERISA or the Contractual ERISA Standard of

Care—i.e., when the ERISA 25% Threshold was met—AllianzGI was subject to statutory or

contractual duties that included a duty of loyalty. See 29 U.S. Code § 1104(a) (requiring ERISA

fiduciaries to “to act solely in the interests of the plan”). Otherwise, AllianzGI was obligated to

meet the Contractual Prudence Standard of Care and “no other” duties under ERISA. (Id.; see Part

IV.B.2-6.) Accordingly, the Court should dismiss Plaintiffs’ stand-alone claims for common law

breach of fiduciary duty of loyalty.

       B.      Plaintiffs’ Conclusory Allegations of Motive Based on AllianzGI’s
               Performance Fee Are Implausible and Fail to State a Claim.

               Plaintiff Key:    ATRS, BCBS, CLPF, CMERS CTWW, FFLD/NEHC, IBEW,
                                 Lehigh, MTA;TMRT/BLYR, UFCW

       To try to plead a claim for breach of duty of loyalty under ERISA,44 rather than allege facts

showing that AllianzGI acted to benefit itself, Plaintiffs impermissibly “recast purported breaches

of the duty of prudence as disloyal acts.” Sacerdote v. N.Y. Univ., 2017 WL 3701482, at *5


44
        BCBS, CLPF, CTWW; NEHC, IBEW; TMRT/BLYR, and UFCW assert claims for
ERISA breach of fiduciary duty of loyalty; all Plaintiffs noted above except BCBS also assert
claims for common law breach of fiduciary duty of loyalty, and MTA also asserts a breach of
contract claim based on alleged self-dealing. (MTA FAC ¶ 137(e).) To the extent not dismissed
for the reasons set forth in Part V.A., supra, those claims should be dismissed as set forth in this
Part V.B., as the same principles apply to those claims. See Gottsch v. Eaton & Van Winkle LLP,
343 F. Supp. 3d 372, 377–78 (S.D.N.Y. 2018) (Swain, J.) (dismissing common law breach of
fiduciary duty of loyalty claim where “the [c]omplaint [did] not allege facts sufficient to support
an inference that [d]efendants acted in their own self-interest or otherwise had improper motives”).



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(S.D.N.Y. Aug. 25, 2017) (Forrest, J.). As courts have repeatedly held, “to state a loyalty-based”

breach of fiduciary duty, “a plaintiff must do more,” and “must allege plausible facts supporting

an inference that the defendant acted for the purpose of providing benefits to itself” or someone

else. Id. (emphasis added). Courts thus dismiss breach of duty of loyalty claims that “merely ride

the coattails of Plaintiffs’ duty-of-prudence” claims where the complaint is “devoid of factual

allegations supporting purposeful action” by defendant to benefit itself. Ferguson v. Ruane

Cunniff & Goldfarb Inc., 2019 WL 4466714, at *4 (S.D.N.Y. Sept. 18, 2019) (Carter, Jr., J.)

(emphasis original). Thus, in Cunningham v. Cornell University, Judge Castel dismissed claims

for breach of the ERISA duty of loyalty where, as here, the allegations “d[id] not support an

inference that defendants’ actions were for the purpose of providing benefits to themselves . . . and

did not simply have that incidental effect.” 2017 WL 4358769, at *4 (S.D.N.Y. Sept. 29, 2017)

(emphasis original).

       Here, Plaintiffs do not plausibly allege any breach of any duty of loyalty from the fully-

disclosed and unexceptional fact that AllianzGI received performance-based fees for managing the

Funds In trying to do so, Plaintiffs improperly “ride the coattails” of their allegations that

AllianzGI continued to manage the Funds’ assets imprudently during the market turmoil in March

2020. But such conclusory allegations cannot plausibly support an inference that AllianzGI acted

for an improper, self-interested purpose. It is equally plausible that when AllianzGI made

(allegedly imprudent) management decisions in March 2020 in an effort “to generate gains and

avoid losses” (ATRS Compl. ¶ 104), AllianzGI did so for the benefit of Plaintiffs and other

investors in the Funds, not just for itself, just as AllianzGI had successfully done for many years

under the same fee structure, including during prior market downturns. See Bell Atl. Corp. v.

Twombly, 550 U.S. 554, 565-67, 570 (2007) (plaintiffs did “not nudge[] their claims across the




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line from conceivable to plausible” where “obvious alternative explanation” existed for alleged

misconduct); Trump v. Vance, 977 F.3d 198, 207 (2d Cir. 2020) (affirming dismissal and holding

that “bare allegation of improper motive . . . will not suffice if there is an obvious alternative

explanation for the conduct alleged” (internal quotations and citations omitted)).

       Moreover, Plaintiffs ignore that performance fees are directly designed to align an

investment manager’s and investors’ interests. For this reason, courts in this Circuit have long

rejected the existence of performance fees as a motive for wrongdoing. See, e.g., Shields v.

Citytrust Bancorp, Inc., 25 F.3d 1124, 1130 (2d Cir. 1994) (quoting Ferber v. Travelers Corp.,

785 F. Supp. 1101, 1107 (D. Conn. 1991)) (“[i]ncentive compensation can hardly be the basis on

which an allegation of fraud is predicated”). If accepted, Plaintiffs’ theory would allow investors,

following a market reversal, to impugn every management judgment taken in pursuit of positive

returns for the benefit of investors as disloyal and self-interested—simply because an investment

manager stood to share in those returns. This Court should reject Plaintiffs’ conclusory and

implausible allegations of wrongdoing based on performance fees.

       C.      Plaintiffs May Not Convert a Routine Performance-Based Fee Structure Into
               a “Prohibited Transaction” Under ERISA § 406(b)

               Plaintiff Key: BCBS, CPPT, FFLD/NEHC, IBEW, TMRT/BLYR

       Based on the same allegations, Plaintiffs assert that AllianzGI’s continued trading of the

Funds’ assets during the market crash in March 2020 amounted to a “prohibited transaction” under

ERISA § 406(b), which, as relevant here, prohibits fiduciaries from “deal[ing] with the assets of

the plan in his own interest or for his own account.” 29 U.S.C. § 1106(b)(1). As shown above,

any claimed inference of self-interest is implausible. Moreover, in the context of ERISA § 406(b),

Plaintiffs’ theory posits that managing assets for a performance-based fee is a per se “prohibited

transaction” under ERISA § 406(b), because such a fee structure will by definition create a



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financial incentive for the manager to “deal with the assets of the plan in his own interest” insofar

as the manager is seeking outperformance in which it will share. The imposition of such a per se

prohibition would put the onus on the investment manager to prove the negative—i.e., that any

time the manager took risk and incurred a loss, its pursuit of returns was not motivated by self-

interest.

        Recognizing this, the Department of Labor (“DOL”) issued clear guidance years ago

(ignored by Plaintiffs) that performance-based incentive compensation is not a per se prohibited

transaction under ERISA § 406(b). See DOL Advisory Opinion, No. 89-31A, 1989 WL 224560,

at *6 (Oct. 11, 1989). This guidance concluded that an investment manager’s performance fee

would not “in itself, constitute a violation of Section 406(b)(1) of ERISA” where, as here, the

amount of compensation is determined solely by “reference to a predetermined index” such that

the investment manager “would not be exercising any of its fiduciary authority or control to cause

a plan to pay an additional fee.” Id. Thus, even though the manager would have an incentive to

manage the account to generate outperformance in which the manager would share, the DOL

concluded this did not constitute a self-interested transaction prohibited by ERISA § 406(b). This

Court should reject Plaintiffs’ attempt to read into ERISA a per se prohibition that is not supported

by its language or regulatory guidance and dismiss their prohibited transactions claims.

                                           CONCLUSION

                 For the foregoing reasons, this Court should dismiss Plaintiffs’ claims as set out in

Appendix A to the Giuffra Declaration.




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                                                    Respectfully,

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